         Case 1:17-cv-02122-TSC Document 144 Filed 08/08/19 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
J.D., on behalf of herself and others similarly   )
situated, et al.,                                 )
                                                  )
                         Plaintiffs,              )
                                                  )   No. 17-cv-02122-TSC
 v.                                               )
                                                  )
ALEX M. AZAR II, et al.,                          )
                                                  )
                         Defendants.              )
                                                  )

                         MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 65.1, Plaintiffs apply for

the issuance of an order preliminarily enjoining Defendants (along with their respective

successors in office, officers, agents, servants, employees, attorneys and anyone acting in concert

with them) from forcing any class member to reveal the fact of their pregnancy and their abortion

decision to anyone, and from revealing that information to anyone themselves, either before or

after an abortion, unless the class member provides non-coerced consent to such disclosure or

needs emergency medical care and is incapacitated such that she is unable to inform a medical

care provider herself.

       On June 14, 2019, the Court of Appeals affirmed this Court’s March 30, 2018 Order that

granted class certification of all pregnant unaccompanied immigrant minors, and the preliminary

injunction enjoining Defendants from interfering with or obstructing any class member’s access

to pregnancy and abortion-related care, including non-directive options counseling and abortion.

J.D. v. Azar, 925 F.3d 1291, 1339–40 (D.C. Cir. 2019). The Court of Appeals, however,

remanded the case to this Court for additional factual findings and conclusions of law regarding

the forced disclosure aspect of Defendants’ policy. Id.
         Case 1:17-cv-02122-TSC Document 144 Filed 08/08/19 Page 2 of 3



       On August 6, 2019 the Court of Appeals mandate issued. Accordingly, Plaintiffs

respectfully request that this Court enter a new preliminary injunction on the forced disclosure

aspect of Defendants’ policy, with the findings of facts and conclusions of law required by the

Court of Appeals. The grounds for this motion are that Defendants’ policy of forced disclosure

violates the Plaintiff class members’ rights under the Fifth Amendments to the Constitution of

the United States; that the Plaintiff class members will suffer irreparable injury if the Defendants

are not enjoined from enforcing their forced disclosure policy; that Defendants will not be injured

if an injunction issues; and that the public interest favors the issuance of an injunction.

       This motion is based on the memorandum of points and authorities submitted herewith,

all declarations, pleadings and filings filed in this action, and such oral arguments and evidence

as may be presented at a hearing on the motion.

August 8, 2019

                                               Respectfully submitted,

                                               /s/ Brigitte Amiri
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                                               Meagan Burrows
                                               Jennifer Dalven
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Case 1:17-cv-02122-TSC Document 144 Filed 08/08/19 Page 3 of 3



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                               3
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 1 of 27



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
J.D., on behalf of herself and others similarly   )
situated, et al.,                                 )
                                                  )
                       Plaintiffs,                )
                                                  )   Civil No. 17-cv-02122-TSC
 v.                                               )
                                                  )
ALEX M. AZAR II, et al.,                          )
                                                  )
                       Defendants.                )
                                                  )


      PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION FOR A
                      PRELIMINARY INJUNCTION

                                 PRELIMINARY STATEMENT

       On June 14, 2019, the Court of Appeals affirmed this Court’s certification of a class of all

pregnant unaccompanied minors in Defendants’ custody, and affirmed the portion of this Court’s

preliminary injunction that prohibits Defendants from obstructing or interfering with class

members’ access to abortion. J.D. v. Azar, 925 F.3d 1291, 1339–40 (D.C. Cir. 2019). The Court

of Appeals, however, vacated the portion of this Court’s preliminary injunction that prohibited

Defendants from revealing a minor’s abortion decision or pregnancy to anyone (or coercing the

minor into doing so) absent her consent, and remanded to this Court to make further findings of

fact and conclusions of law as to this aspect of Defendants’ policy to better enable appellate

review. Id.

       The Court of Appeals mandate issued on August 6, 2019, and this Court’s preliminary

injunction as to the forced disclosure aspect of Defendants’ policy is now vacated. Absent

immediate action by this Court, Defendants are now free to mandate that unaccompanied

immigrant minors’ pregnancies and abortion decisions be disclosed to others, including abusive

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       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 2 of 27



parents or potential sponsors. Since this Court’s March 30, 2018 preliminary injunction,

Plaintiffs’ counsel have assisted a steady stream of class members who have requested access to

abortion, abortion information, or access to the courts to seek a judicial bypass of a parental

involvement law, and are in fact currently assisting a class member who is seeking access to

abortion as of the date of this submission. See Decl. of Lindsey Kaley (hereinafter, “Kaley

Decl.”) ¶ 5, attached hereto as Exhibit 1. Indeed, Defendants’ own documents show that since

this Court’s injunction issued, at least 53 minors have requested access to abortion while in ORR

custody, 22 of whom made their requests within just the first six months of 2019. See Exhibit A

to Kaley Decl., HHS Spreadsheets. Many of these young women informed Plaintiffs’ counsel

that they do not want to inform their parents or prospective sponsors of their pregnancy and/or

abortion decision. Kaley Decl. ¶ 6.

       Given the frequency of class members coming to Plaintiffs’ counsel’s attention, it is only

a matter of time—and not much time—before a class member will be subjected to Defendants’

forced disclosure policy, which will violate their constitutional rights and expose them to further,

serious harms. Indeed, the former ORR Deputy Director admitted that Defendants’ policy of

mandatory notification could cause minors harm. Moreover, every major medical organization

agrees that minors should not be compelled to tell their parents of their abortion decision.

Accordingly, to prevent irreparable harm to Plaintiff class members, Plaintiffs respectfully

request that this Court make the further findings of fact and conclusions of law requested by the

D.C. Circuit and issue a new preliminary injunction precluding Defendants from mandating that

minors’ pregnancies and/or abortion decisions be disclosed to parents and potential sponsors

absent the minor’s uncoerced consent.




                                                 2
         Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 3 of 27



                                             FACTS

    I.        DEFENDANTS’ FORCED DISCLOSURE POLICY.

                                Mandatory Disclosure to Parents

         Around March 2017, ORR adopted a policy of coercing all unaccompanied immigrant

minors into telling their parents and/or immigration sponsors of their pregnancies and abortion

decisions, and if they refused, of informing them directly, even in cases where ORR was aware

that doing so could harm the minor and/or her family members.1 As set forth in detail below, the

record is replete with evidence of this forced disclosure aspect of Defendants’ anti-abortion

policy and its deleterious effect on Plaintiff class members.

         1.     Defendants admit that they have a policy of mandating that pregnant

unaccompanied immigrant minors in their custody disclose (or have Defendants disclose) their

pregnancies and/or abortion decisions to their parents. For example, in a declaration dated April

3, 2018, Jallyn Sualog, then-Acting Deputy Director for Children’s Programs at ORR, said:

                a.     “Since March 2017, ORR has implemented [a] policy by requiring

grantees to ensure parental notification for UACs that are pregnant and request abortion when

such notification would not endanger the UAC’s health and well-being.” Decl. of Jallyn Sualog

(hereinafter, “Sualog Decl.”) ¶ 11, ECF No. 128-1.




1
  Around the same time, Defendants also adopted a policy of requiring that all pregnant minors
who requested an abortion receive “life-affirming” counseling from an anti-abortion crisis
pregnancy center. See Pls.’ Third Amended Compl. ¶¶ 3, 66, 72–75, 90, 93–95, ECF No. 143.
Although that aspect of Defendants’ policy involves coerced disclosure of class members’
pregnancies and abortion decisions, Plaintiffs do not discuss that aspect of Defendants’ policy
here, given that it is enjoined by this Court’s March 30, 2018 order, which prohibits Defendants
from, inter alia, “interfering with or obstructing” any class member’s access to “non-directive
options counseling, [] abortion counsel, [and] an abortion.” See Order at 1, ECF No. 127.



                                                 3
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 4 of 27



               b.     Moreover, regardless of whether a minor has expressed an interest in

seeking abortion, ORR “may [] inform[] the UAC’s parents of her pregnancy, her options

concerning the pregnancy, and her expressed wishes concerning the pregnancy. Currently, ORR

will disclose a UAC’s health status or other specific information to a UAC’s parent without the

UAC’s consent if doing so is consistent with state law, and would not endanger the UAC’s

health and well-being.” Id. ¶¶ 8–9.

       2.      Directives sent from then-ORR Director Scott Lloyd to his staff and ORR-funded

shelters confirm that ORR’s policy requires forced disclosure to parents, and contrary to Ms.

Sualog’s declaration, it applies regardless of whether harm to the minor’s health or well-being

would result. For example:

               a.     In an email from then-Deputy Director of ORR Jonathan White to an ORR

Federal Field Specialist, Commander White says that Lloyd instructed that shelters are “not to

take [a minor] to get a termination, or to any appointments to prepare her for a termination,

without consent from the Director, which cannot happen without written and notarized consent

of her parents . . . .” Ex. B, Decl. of B. Amiri in Supp. of Pls.’ Renewed Mot. for Class Cert. &

Prelim. Inj. (“Amiri Decl.”), ECF. No. 121-3, PRICE_PROD_00014889 (emphasis added).

               b.     In another email, Lloyd instructed ORR staff that when minors receive

positive pregnancy tests “the parents must be notified.” Ex. G, Amiri Decl., ECF No. 122-5,

PRICE_PROD_00014816.

               c.     In yet another email, Lloyd instructed Commander White that shelters

should “notify [parents of the minor’s pregnancy] regardless of UAC’s wishes.” Ex. F, Amiri

Decl., ECF No. 122-4, PRICE_PROD_00014822.

       3.      The evidence shows how this policy was enforced. For example:



                                                 4
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 5 of 27



               a.       In March of 2017, then-Director Lloyd instructed that a minor who was

residing in a shelter in Arizona be taken to a crisis pregnancy center (CPC) and that—after that

visit—“if [the minor] still desires the abortion, and it is still within the window for a legal

abortion, she must obtain parental consent, which will necessitate options counseling with them,

plus signed, notarized declaration of consent.” Ex. G, Decl. of B. Amiri in Supp. of Pls.’ App.

for TRO & Mot. for Prelim. Inj. (“TRO Amiri Decl.”), ECF No. 1-21,

PRICE_PROD_00010710.

               b.      Also in March of 2017, then-Director Scott Lloyd instructed that the

parents of yet another minor who was residing at another shelter in Arizona be notified of her

abortion decision, “despite the [minor’s] affirmative declaration to keep said personal health

information confidential.” Ex. I, TRO Amiri Decl., ECF No. 1-23, PRICE_PROD_00010623

(shelter staff confirming instructions from ORR that the minor’s mother and sponsor be notified

of her abortion decision); see also Ex. H, TRO Amiri Decl., ECF No. 1-22,

PRICE_PROD_00010867 (Lloyd instructing that the minor’s parents must be notified of her

abortion). The shelter responded to that directive by informing both the minor’s mother and her

sponsor (an older brother) about the minor’s abortion. Ex. H, TRO Amiri Decl., ECF No. 1-22,

PRICE_PROD_0010866. Defendants required parental notification of this minor’s abortion

decision even after she obtained a judicial bypass to consent to the abortion on her own, and

despite the fact that an immigrants’ services organization told Defendants that if they told the

parents in the home country her father would abuse her mother. See Ex. D, Amiri Decl., ECF

No. 121-5, Dep. Tr. of Jonathan White 83:5 – 84:17; Ex. I, Decl. of B. Amiri in Supp. of Pls.’

Reply in Further Supp. of Class Cert., ECF No. 56-10, Young Center Best Interests

Recommendation, PRICE_PROD_00012935-37.



                                                   5
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 6 of 27



               c.      In August 2017, a minor who was pregnant and had requested an abortion

while residing at a shelter in Arizona was taken to a CPC, given spiritual counseling, and ended

up participating in a “family session” in which her mother was informed of her pregnancy and

desire for abortion, in spite of the minor’s expressed desire that her family not be informed

because they “would not want her anymore” and scold her. Ex. A, Amiri Decl., ECF No. 122-2,

PRICE_PROD_00014828-29.

               d.      In September 2017, Jane Doe, the first named plaintiff in this case, was

required to tell her parents about her pregnancy and abortion decision, and when she refused,

ORR instructed the shelter to do so, see Decl. of Jane Doe ¶ 15, ECF No. 3-3, despite the fact

that Jane Doe: (1) was “strongly opposed to parental notification,” Ex. C, Amiri Decl., ECF No.

121-4, PRICE_PROD_00015152-53; Ex. B, Amiri Decl., ECF No. 121-3,

PRICE_PROD_00014890 (“minor does not agree to parental consent”); (2) was seeking to

obtain (and did obtain) a court order permitting her to bypass Texas’s parental involvement

requirement, Decl. of Marie Christine Cortez (hereinafter, “Cortez Decl.”) ¶ 3, ECF No. 41-1,

and (3) had been abused by her parents in the past, id. ¶¶ 8–11. Then-Deputy Director White

declared that the notification of Ms. Doe’s mother about her pregnancy was done “[a]t ORR’s

direction and consistent with ORR policies and procedures.” Decl. of Jonathan White ¶ 9, ECF

No. 10-1.

               e.      Also around September 2017, another minor was pregnant and

contemplating an abortion, and then-Director Lloyd instructed shelter staff to notify her parents

of her pregnancy and the fact that she was considering abortion, “regardless of the [minor’s]

wishes,” even though she had previously expressed she did not want to talk to her family and did

not give consent for shelter staff to talk to them either. Ex. E, Amiri Decl., ECF No. 122-3,



                                                 6
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 7 of 27



PRICE_PROD_00014814; Ex. F, Amiri Decl., ECF No. 122-4, PRICE_PROD_00014822-24;

Ex. P, Amiri Decl., ECF No. 122-7, PRICE_PROD_00014975.

               f.      In October 2017, yet another minor who was pregnant and requesting an

abortion was coerced into notifying her mother at Lloyd’s direction. Ex. G, Amiri Decl., ECF

No. 122-5, PRICE_PROD_00014815-16; Ex. H, Amiri Decl., ECF No. 122-6,

PRICE_PROD_00015133-34. Upon confirmation of the minor’s pregnancy, then-Director

Lloyd instructed shelter staff that the minor’s parents “must be notified of [her] pregnancy,”

leaving to the minor only the decision as to whether she would do the notifying herself or the

shelter staff would do it for her. See Ex. G, Amiri Decl., ECF No. 122-5,

PRICE_PROD_00014815-16. After shelter staff reported that the minor did not want to notify

her mother, Director Lloyd again instructed that the shelter “[r]equest permission to from the

[minor] for the program to inform her parents of her request for an abortion,” making clear that

“[i]f she does not consent, the [shelter] will have to proceed anyway” and instructing the shelter

to “please inform her of this if she does not consent at first.” Ex. H, Amiri Decl., ECF No. 122-

6, PRICE_PROD_00015133-34.

               g.      In December 2017, Defendants imposed their policy on two of the other

named plaintiffs in this case. In Ms. Poe’s case, then-Director Lloyd required Ms. Poe to either

notify her parents of her pregnancy and her request for an abortion herself or have them be

notified. Ex. I, Amiri Decl., ECF No. 121-10, PRICE_PROD_00015509. During the required

notification session, Ms. Poe’s family threatened to harm her if she had the abortion, causing her

to temporarily withdraw her request to obtain an abortion because—as she later stated when

reasserting her request—of the pressure from her mother and potential sponsor to continue the

pregnancy. Ex. J, Amiri Decl., ECF No. 121-11, PRICE_PROD_00015515; ECF No. 92-1,



                                                 7
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 8 of 27



Redacted ORR Decision Document at 2 (“the minor disclosed that she was being threatened by

her biological [mother] and potential sponsor to keep the baby or they would inflict physical

harm on her. . . . [the minor] stated that she felt pressured by her mother and potential sponsor to

continue the pregnancy, but she wants to terminate the pregnancy.”); id. at 5; ECF No. 129-1,

Dep. Tr. of Scott Lloyd, 229:24 – 230:4. This temporary withdrawal of her request for an

abortion occurred despite the fact that Ms. Poe had disclosed to clinicians that she preferred to

harm herself rather than continue with the pregnancy. ECF No. 92-1, Redacted ORR Decision

Document at 2; id. at 5 (“She still desires an abortion, and has on at least one occasion threatened

to harm herself if she does not obtain it.”); Ex. I, Amiri Decl., ECF No. 121-10,

PRICE_PROD_00015506. Ms. Poe eventually renewed her abortion request. ECF No. 92-1,

Redacted ORR Decision Document at 2; Decl. of Jonathan White ¶ 5, ECF No. 66-1; Ex. J,

Amiri Decl., ECF No. 121-11, PRICE_PROD_00015515.

               h.      Defendants also required Ms. Roe or her shelter to notify Ms. Roe’s

family member who raised her in her home country of her pregnancy and abortion decision. Ex.

M, Amiri Decl., ECF No. 121-14, PRICE_PROD_00015591-94; see also Dep. Tr. of Jonathan

White, 132:14 – 133:17, ECF. No 129-2; Dep. Tr. of Scott Lloyd, 239:21 – 240:5, ECF No. 129-

1.

       4.      Defendants enforced this mandatory disclosure policy even while admitting that

informing a minor’s parents of her pregnancy and abortion decision without her consent can

cause harm. For example, then-Deputy Director of ORR White testified that, based on his social

work background and training, he would “not recommend” notifying a minor’s parents of her

abortion decision over the minor’s objection “[b]ecause of the potential of additional harm or

risk.” Ex. D, Amiri Decl., ECF No. 121-5, Dep. Tr. of Jonathan White, 41:11 – 43:1.



                                                 8
       Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 9 of 27



                         Mandatory Disclosure to Potential Sponsors

       The evidence also shows that Defendants’ policy requires that minors’ prospective

sponsors be notified of their pregnancies and/or abortion decisions. These sponsors are generally

“qualified parents, guardians, relatives, or other adults” with whom the minor has a close

relationship,2 who already reside in the United States and who assume physical custody of the

minor and become responsible for caring for the minor while he/she awaits his/her immigration

hearing, thereby often acting as a de facto parent or legal guardian.3 For example:

       1.      In March of 2017, ORR requested confirmation that the prospective sponsor of a

minor residing in a shelter in Phoenix who had requested an abortion be notified of her

pregnancy. Ex. C, TRO Amiri Decl., ECF No. 1-17, PRICE_PROD_00010706.

       2.      Also in March of 2017, ORR directed that the prospective sponsor of a minor

discussed above who was residing in a shelter in Arizona and who had obtained an abortion be

notified of her abortion decision, over the minor’s objection. Ex. I, TRO Amiri Decl., Doc. 1-23,

PRICE_PROD_00010623 (“If the UC desires to proceed with statement placement, the UC will

be advised that the UC Sponsor, the UC’s biological brother, will also be advised that; UC was

impregnated in COO and further that the UC terminated said pregnancy in the United States

while in ORR Care, despite the UC’s affirmative declaration to keep said personal health

information confidential.”); Ex. H, TRO Amiri Decl., ECF No. 1-22, PRICE_PROD_00010867

(confirming shelter has “informed the UC mother and sponsor about the procedure which



2
 See ORR, Sponsors and Placement, https://www.acf.hhs.gov/orr/about/ucs/sponsors; see also
Kaley Decl. ¶ 6.
3
  See ACF Fact Sheet, Unaccompanied Alien Children Program, December 2018,
https://www.acf.hhs.gov/sites/default/files/orr/unaccompanied_alien_children_program_fact_she
et_december_2018.pdf; see also Kaley Decl. ¶ 6.



                                                9
         Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 10 of 27



terminated [her] pregnancy”). ORR compelled this disclosure despite concerns that the minor’s

sponsor (her brother) would share the information with their parents, which would result in their

father retaliating against their mother. ECF No. 56-10, Young Center Best Interests

Recommendation, PRICE_PROD_00012935-37.

         3.     In December 2017, Defendants required Ms. Poe to notify her potential sponsor of

her pregnancy and desire to obtain an abortion. See Ex. H, Amiri Decl., ECF No. 121-11,

PRICE_PROD_00015514-15. As explained above, during the required notification session, Ms.

Poe’s sponsor threatened to harm her if she had the abortion, causing her to temporarily

withdraw her request to obtain an abortion, even though she disclosed that she would prefer to

harm herself rather than continue with the pregnancy. See supra 7–8. Ms. Poe’s sponsor’s

threats of violence in reaction to the forced disclosure of her desired abortion likely prevented

Ms. Poe’s release from ORR custody to a sponsor, despite the existence of that sponsor.

   II.        THE EFFECT OF FORCED DISCLOSURE ON MINORS.

         While the majority of minors who are pregnant and facing the decision whether to obtain

an abortion in the United States involve at least one parent in their decision, research has

consistently shown that minors who do not involve their parents have compelling reasons to

avoid disclosure. See Decl. of J. Shoshanna Ehrlich (hereinafter, “Ehrlich Decl.”) ¶¶ 14–15,

attached hereto as Exhibit 2. As detailed below, and in the accompanying declarations,

Defendants’ policy of disregarding these compelling reasons, and mandating that minors’ parents

and/or potential sponsors be notified of minors’ pregnancies and abortion requests over their

objections, risks subjecting these young women to serious physical, emotional and psychological

harms.




                                                 10
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 11 of 27



       For example, some minors have been subjected to harsh treatment at the hands of one or

both parents, and fear that disclosure of their abortion decision would result in further physical or

emotional abuse or being thrown out of their homes. Ehrlich Decl. ¶¶ 16–18, 24–26, 28 (citing

study finding that 30% of minors who did not tell their parents about their abortion decision had

already experienced violence in their family, feared that violence would occur, or were afraid of

being forced to leave home); Decl. of Rebecca Garcia Rangel (hereinafter, “Rangel Decl.) ¶¶ 10,

12–13, attached hereto as Exhibit 3. Indeed, many unaccompanied immigrant minors have fled

to the United States because they have suffered abuse, abandonment, and/or neglect at the hands

of their parents in their countries of origin already. See Rangel Decl. ¶¶ 3, 9–10; see also Ehrlich

Decl. ¶ 35. That unaccompanied immigrant minors may be physically separated from their

parents and/or potential sponsors when the disclosure is made does not ameliorate their concerns.

See Ehrlich Decl. ¶ 35; Rangel Decl. ¶¶ 10, 12. If these young women are ultimately sent back

to their home countries and/or released to their sponsors, they may well be at risk of physical or

emotional abuse or rejection. Id. Moreover, like U.S. minors who express concern about being

thrown out of the house, unaccompanied immigrant minors may reasonably fear that disclosure

of their pregnancy and/or abortion decision to their prospective sponsor will jeopardize their

release, as the sponsor may withdraw his or her sponsorship and refuse to assume care of the

minor due to, among other things, a religious or cultural objection to pregnancy outside of

marriage and/or abortion. See Ehrlich Decl. ¶ 35; Rangel Decl. ¶¶ 10, 13; Kaley Decl. ¶ 6.

       Other minors do not disclose out of fear that doing so will incite parental or familial

disapproval, disappointment, or rejection, and irreparably damage their familial relationships.

Ehrlich Decl. ¶¶ 19, 35; Rangel Decl. ¶¶ 9–10, 12–13. Such concerns are likely to be heightened

in the unaccompanied immigrant minor context, given that the engrained gender inequities,



                                                 11
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 12 of 27



increased violence against women and girls, high religiosity, and illegality of abortion in these

minors’ countries of origin tends to create a culture of conservatism and taboo around pre-marital

sex and abortion. Rangel Decl. ¶¶ 6–7, 9; see also id. ¶ 5 (detailing one minor’s fear regarding

what her close indigenous Guatemalan community would think about her if she was forced to

disclose her pregnancy and planned abortion and how that fear became an obstacle to the

abortion she would otherwise choose); Cortez Decl. ¶¶ 8–11; Ehrlich Decl. ¶¶ 19, 27 (noting that

such fears may be rooted in history of parents making negative remarks about sex). In cultural

contexts such as these, where abortion is viewed with particular disapproval, its disclosure can

further strain and fracture family relationships and risk leaving young women isolated and alone,

with limited or no familial or community support. Rangel Decl. ¶¶ 9, 13.

       Still other minors worry that the stress of disclosure would be too much for their parents

to handle, given their knowledge of the existing financial, physical, social or psychological

burdens their parents are carrying, and thus choose not to disclose their situation to their parents

in order to protect them from this undue stress. See, e.g., Ehrlich Decl. ¶¶ 20, 27, 29, 36. These

fears also have particular salience for unaccompanied minors, whose parents often face

extraordinarily difficult situations in home countries ravaged by violence and poverty. See

generally Ehrlich Decl. ¶ 36; Rangel Decl. ¶¶ 3, 6.

       On top of all this, many unaccompanied immigrant minors who arrive at the border

discover they are pregnant after having been raped or sexually assaulted in either their home

countries or in transit to the United States. See Rangel Decl. ¶¶ 7–8. These young women may

be afraid or unready to reveal the rape or sexual assault that resulted in their pregnancies to their

families. Id. ¶ 7. Coercing them into reliving an extremely traumatic experience by making a




                                                 12
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 13 of 27



painful disclosure over a phone call before they are emotionally ready to do so, and without

consideration of the possible consequences, only risks further traumatizing them. Id. ¶ 9.

       Regardless of their specific reasons for doing so, minors do not make the decision not to

involve a parent in their abortion decision lightly. Ehrlich Decl. ¶ 22. To the contrary, minors’

concerns about disclosure tend to be well thought out, and deeply rooted in their intimate

knowledge of their individualized family history and the complex realities of their lives,

including their experience with long-standing patterns of parental mistreatment and parental

behaviors. Id. ¶¶ 21–22. Drawing on their unique lived experience, minors are extremely well-

positioned to make assessments as to who in their lives will react negatively to their disclosure,

and who will provide support and assistance in the decision making process; this is reflected in

the fact that many minors considering abortion often choose to confide in and discuss their

abortion decision with another trusted adult, often an older sibling, attorney, or social worker.

Rangel Decl. ¶ 14; Kaley Decl. ¶ 7. Indeed, as the Committee on Adolescence of the American

Academy of Pediatrics has concluded, “[a]dolescents who are strongly opposed to informing

parents about their intent to have an abortion tend to predict family reactions accurately.”

Ehrlich Decl. ¶ 23 (quoting the Committee). It is therefore critically important that their

individual assessments regarding the potential risks of parental disclosure be listened to and

respected. Id. ¶ 23.

       For these reasons, and out of recognition of the harms that can arise from forced

notification, major medical professional organizations, including the American Academy of

Pediatrics, the American Medical Association, and the American Public Health Association,

have uniformly concluded that a minor should not be compelled or required to involve her

parents in her decision to obtain an abortion. See Ehrlich Decl. ¶¶ 13, 30–33. For example, in



                                                 13
          Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 14 of 27



their policy statement on the issue, the Committee on Adolescence of the American Academy of

Pediatrics (AAP) recognizes that “[i]nvoluntary parental notification can precipitate a family

crisis,” and that in addition to being met by violence, disclosure may irreparably damage the

parent-child bond, including actual rejection.4 Id. ¶ 31 (quoting AAP). Accordingly, the AAP

has concluded that “mandating parental involvement does not achieve the intended benefit of

promoting family communication but does increase the risk of harm to the adolescent by

delaying access to appropriate medical care or increasing the rate of unwanted births.” 5 Id.

          Likewise, the American Medical Association’s (AMA) Medical Ethics Opinions on the

provision of health care for minors also make clear that when minors request that their abortion

decisions be kept confidential, physicians should “[n]ot feel or be compelled to require a minor

patient to involve her parents before she decides whether to undergo an abortion.” 6 Id. ¶ 32

(quoting AMA). As the AMA explains, “[t]he patient, even an adolescent, generally must decide

whether, on balance, parental involvement is advisable. Accordingly, minors should ultimately

be allowed to decide whether parental involvement is appropriate.” 7 Id.




4
 Committee on Adolescence, American Academy of Pediatrics, The Adolescent’s Right to
Confidential Care When Considering Abortion,
https://pediatrics.aappublications.org/content/139/2/e20163861 (2017).
5
    Id.
6
 See AMA, Code of Medical Ethics Opinion 2.2.3, Mandatory Parental Consent to Abortion,
https://www.ama-assn.org/delivering-care/ethics/mandatory-parental-consent-abortion; see also
AMA, Code of Medical Ethics Opinion 2.2.2, Confidential Health Care for Minors,
https://www.ama-assn.org/delivering-care/ethics/confidential-health-care-minors.
7
 See AMA Council on Ethical and Judicial Affairs, AMA Code of Medical Ethics Opinions on
Confidential Care for Sexually Active Minors and Physicians’ Exercise of Conscience in Refusal
of Services, Opinion 2.015 – Mandatory Parental Consent to Abortion,
https://journalofethics.ama-assn.org/article/ama-code-medical-ethics-opinions-confidential-care-
sexually-active-minors-and-physicians-exercise/2012-02.



                                                14
          Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 15 of 27



          Similarly, the American Public Health Association (APHA) has explained in its policy

statements that “[p]arental involvement [requirements] do not promote family communication as

intended, and can elevate pregnant minors’ risks by delaying access to care,” and create “[o]ther

negative consequences” including, among other things, “parentally coerced termination of

pregnancy, physical violence between the parents or against the pregnant minor, the pregnant

minor being forced to leave the home, damage to the parents’ health, the pregnant minor being

delayed in informing her parents, negative experiences when informing parents, the potential to

aggravate family conflicts, and pregnant minors from dysfunctional and nonsupportive families

carrying unwanted pregnancies to term without receiving adequate prenatal care.” 8 Id. ¶ 33

(quoting APHA). Accordingly, the APHA urges that “minors’ access to abortion services not be

made conditional on parental involvement.” 9 Id.

          In sum, as the major medical organizations and experts in the field attest, minors

themselves tend to be the best situated to assess the likely outcome of disclosure based on the

complex realities of their own lives, and forced disclosure to a parent or prospective sponsor

irrespective of a minor’s fears risks unnecessarily exposing a minor to emotional, psychological,

and physical harms. See generally Ehrlich Decl.; Rangel Decl.

                                             ARGUMENT

          To obtain a preliminary injunction, a plaintiff must establish (1) “that [s]he is likely to

succeed on the merits,” (2) “that [s]he is likely to suffer irreparable harm in the absence of



8
  See APHA, Policy No. 20115, Ensuring Minors’ Access to Confidential Abortion Services,
(Nov. 1, 2011), https://www.apha.org/policies-and-advocacy/public-health-policy-
statements/policy-database/2014/07/03/11/14/ensuring-minors-access-to-confidential-abortion-
services.
9
    Id.



                                                    15
        Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 16 of 27



preliminary relief,” (3) “that the balance of equities tips in [her] favor,” and (4) “that an

injunction is in the public interest.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20

(2008). Courts in this Circuit have traditionally applied these factors on a “sliding scale,” where

a stronger showing on some factors can compensate for a weaker showing on others. See, e.g.,

Davenport v. Int’l Brotherhood of Teamsters, 166 F.3d 356, 360–61 (D.C. Cir. 1999). It has

been suggested, but not decided, that a likelihood of success on the merits may be required. See

Sherley v. Sebelius, 644 F.3d 388, 392–93 (D.C. Cir. 2011) (citing Winter, 555 U.S. at 20–22).

Under either approach, Plaintiffs make the necessary showing here.

   I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
           CLAIMS.

           A. Defendants’ Requirement of Parental and Sponsor Notification Violates the
              Fifth Amendment.

        The Supreme Court has made clear that, although a state can require parental

involvement for minors seeking abortions, such a requirement must also have an avenue for

minors to “bypass” parental involvement. Bellotti v. Baird, 443 U.S 622, 647 (1979) (“We

conclude, therefore, that . . . every minor must have the opportunity—if she so desires—to go

directly to court [to obtain access to an abortion] without first consulting or notifying her

parents”). As the Fifth Circuit has held, if Bellotti means anything, “it surely means that States

seeking to regulate minors’ access to abortion must offer a credible bypass procedure,

independent of parents or legal guardians.” Causeway Med. Suite v. Ieyoub, 109 F.3d 1096,

1112 (5th Cir. 1997) (striking down statute that required judicial bypass court to notify the

minor’s parents under certain circumstances), overruled on other grounds by Okpalobi v. Foster,

244 F.3d 405 (5th Cir. 2001).




                                                  16
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 17 of 27



       Nevertheless, Defendants have argued in this case that they are entitled to notify (or

require minors to notify) parents and prospective sponsors of the minors’ abortion decisions in

every circumstance, without any mechanism for those minors who object to “bypass” such

notification, and even in cases where a minor has already obtained or will seek to obtain a court

order waiving a state parental involvement requirement. See, e.g., Defs.’ Opp. to Pls.’ Renewed

Motion for Class Cert & PI at 10-13, ECF No. 124; supra 5–6 (examples of Defendants

mandating that parents be notified even when minors were seeking or had already obtained a

judicial bypass order). Neither the Supreme Court nor any lower court has upheld a parental

notification requirement for all minors that lacked a bypass. See, e.g., Lambert v. Wicklund, 520

U.S. 292 (1997) (upholding parental notification law because it had a bypass); Planned

Parenthood, Sioux Falls Clinic v. Miller, 63 F.3d 1452, 1460 (8th Cir. 1995) (holding that a state

“may not impose a parental-notice requirement without also providing a confidential, expeditious

mechanism by which mature and ‘best interest’ minors can avoid it”); Ind. Planned Parenthood

Affiliates Ass’n v. Pearson, 716 F.2d 1127, 1140–41 (7th Cir. 1983) (striking down state law

requiring parents to be notified of a minor’s petition for a bypass even after the bypass petition is

denied); Planned Parenthood v. Wasden, 376 F. Supp. 2d 1012, 1019-1020 (D. Idaho 2005)

(preliminarily enjoining law that allowed for notice to a parent after a minor obtained an

emergency abortion, noting that “when the minor is mature enough to make her own decisions

independent of her parents, the State has no more interest in notifying her parents than it would

in notifying the parents of an adult woman — namely, none.”) (citing Miller, 63 F.3d at 1460);

Planned Parenthood of Ind. and Ky., Inc. v. Comm’r, Ind. State Dep’t of Health, 258 F. Supp. 3d

929, 946 (S.D. Ind. 2017) (striking down parental notification requirement that required post-

bypass parental notice for some minors), appeal argued, No. 17-2428 (7th Cir. Jan. 5, 2018).



                                                 17
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 18 of 27



As noted above, supra 9, sponsors to whom class members may be released often act as de facto

parents or guardians. Accordingly, the same concerns identified by the courts in considering

forced parental consent or notice requirements without an adequate bypass, including, for

example, the risk of minors incurring “disappointment and disapproval, withdrawal of financial

support,” or “domestic abuse at the hands” of their custodian, Comm’r, Ind. State Dep’t of

Health, 258 F. Supp. 3d at 946–47 (S.D. Ind. 2017), are also implicated in the context of forced

sponsor notification. See, e.g., Rangel Decl. ¶¶ 8, 10, 12, 14.

       The harm of forced parental or familial involvement in a minor’s abortion decision is not

limited to the possibility that a custodian might physically block the minor’s abortion access.

Rather, as detailed above, forced disclosure can trigger harm to the minor or other family

members, in the form of physical or emotional abuse, rejection or ostracization, or destruction of

familial relationships, and can also create a chilling effect on the minor’s decision. See supra

10–15; see generally Rangel Decl.; Ehrlich Decl. For these reasons, courts have invalidated

statutes that require notification even after a minor’s request for a judicial bypass has been

denied on the basis that such notification (and the possibility of such notification) could cause

“additional trauma” and have a “chilling effect” on minors’ attempting to effectuate their

abortion decisions in the first place. See Pearson, 716 F.2d at 1141 (“[i]t is hardly speculative to

imagine that even some mature minors will be deterred from going to court if they know that

their parents will be notified if their petitions are denied…[n]otification will inevitably result

from denial of the petition because pregnancy cannot be hidden forever, but the state’s form of

notification is likely to cause additional trauma to the minor and is unlikely to encourage family

harmony”); see also Comm’r, Ind. State Dep’t of Health, 258 F. Supp. 3d at 946–47 (finding,

inter alia, that parental notification can lead to “parental disappointment and disapproval,



                                                  18
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 19 of 27



withdrawal of financial support,” and “abuse [that] can take several forms – physical, sexual, or

emotional,” and that even fear of abuse that can lead to suicidal thoughts or self-abortion, or

deterrence from seeking abortion altogether); Wasden, 376 F. Supp. 2d at 1019–1020 (enjoining

law that allowed for post-abortion notice on the basis that failure to provide an exemption from

such notice would “operate as a substantial obstacle to their choice to undergo an abortion”

because it would have a “substantial pre-abortion chilling effect.”).

       Defendants do not even attempt to contest the fact that forced notification puts minors at

risk of harm. Supra 8; Ex. D, Amiri Decl., ECF No. 121-5, Dep. Tr. of Jonathan White, 41:11 –

43:1. Nor could they, as these harms are evidenced by the facts in this very case. For example,

when Jane Poe was forced to tell her parents and sponsor that she wanted an abortion, they

threatened to harm her. See supra 7–8. This threat may turn into actual abuse if she sees her

parents or her potential sponsor (a relative) again, and, in the short term, led Ms. Poe briefly to

change her mind about the abortion, despite the fact that she had expressed a desire to self-harm

if forced to carry her pregnancy to term. Id.

       Moreover, Defendants’ claim that they do not notify a parent or sponsor of a minor’s

pregnancy or abortion decision if it would cause a risk of harm to the minor, see Sualog Decl. ¶¶

9–10, is belied by the evidence showing how Defendants’ implemented their policy. As

discussed above, Defendants contacted Jane Doe’s mother in her home country about her

pregnancy, over her objections, despite the fact that Ms. Doe suffered abuse at the hands of her

parents, and even though she was seeking to obtain (and obtained) a court order permitting her to

bypass Texas’s parental involvement requirement. See supra 6. Ms. Poe’s situation also makes

clear that the government’s policy contains no exception for when disclosure would endanger the

minor. See supra 7–8. And in one of the cases out of Arizona, Defendants required parental



                                                 19
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 20 of 27



notification after the minor had already obtained a judicial bypass to consent to the abortion on

her own, and over the minor’s advocate’s concern that it could lead to violence by the minor’s

father against her mother. See supra 5. In sum, there is absolutely no evidence that Defendants

have ever exempted a minor from their forced notification policy out of fear that notification

would lead to threats of abuse or other harms to her. Accordingly, Plaintiffs are likely to succeed

on the merits of their Fifth Amendment claim.

           B. Defendants’ Forced Disclosure Policy Violates Plaintiffs’ Right to
              Informational Privacy.

       In addition, Defendants’ forced disclosure policy violates Plaintiffs’ right to

informational privacy by requiring that parents and potential sponsors be informed about minors’

pregnancy and/or abortion decisions. See Pls.’ Third Amended Compl. ¶ 94, ECF No. 143. As

the Supreme Court has made clear, people have a right to privacy “in avoiding disclosure of

personal matters,” Whalen v. Roe, 429 U.S. 589, 599 (1977), and the government violates that

right when it discloses a person’s deeply private information to others, see, e.g., Doe v. City of

New York, 15 F.3d 264 (2d Cir. 1994). Accordingly, numerous courts have recognized

constitutional claims in cases where an individual’s private, sensitive personal information—

including their HIV status, sexual orientation, gender identity, or details about their sexual

assault—was disclosed, or threatened to be disclosed, without their consent. See, e.g., Doe, 15

F.3d at 267 (recognizing constitutional claim based on government disclosure of employees’

HIV status, and noting that “[e]xtension of the right to confidentiality to personal medical

information recognizes there are few matters that are quite so personal as the status of one’s

health, and few matters the dissemination of which one would prefer to maintain greater control

over”); A.L.A. v. West Valley City, 26 F.3d 989 (10th Cir. 1994) (same, for arrestee’s HIV

status); Sterling v. Borough of Minersville, 232 F.3d 190, 197–98 (3rd Cir. 2000) (finding


                                                 20
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 21 of 27



officer’s threat to disclose arrestee’s suspected homosexuality to arrestee’s grandfather violated

arrestee’s constitutional right to privacy, and stating that “[i]t is difficult to imagine a more

private matter than one’s sexuality”); Powell v. Schriver, 175 F.3d 107, 111–12 (2d Cir. 1999)

(recognizing constitutional right to privacy regarding an individual’s identification as

transgender, noting that an individual would rightly “desire to preserve one’s [] confidentiality”

as to their gender identity, and that revelation could incite “hostility and intolerance from

others”); Bloch v. Ribar, 156 F.3d 673, 685–86 (6th Cir. 1998) (recognizing a rape victim’s

fundamental right of privacy in preventing government officials from unnecessarily releasing

details of her rape and noting that “revealing information regarding [our sexuality and choices

related to it] exposes an aspect of our lives that we regard as highly personal and private.”).

        Notably, judicial acknowledgment of an individual’s right to informational privacy has

not been limited to claims involving disclosures to the public at large; to the contrary, courts

have recognized that this right may be implicated even when the disclosure at issue is to parents

or other family members. See, e.g., Nguon v. Wolf, 517 F. Supp. 2d 1177, 1191–1193 (C.D. Cal.

2007) (recognizing that a student has “a Constitutionally protected privacy right with respect to

disclosure of [their] sexual orientation” and requiring a compelling government interest that

outweighs the student’s privacy interest to justify revealing, even implicitly, a student’s sexual

orientation to their parents under both the federal and state constitutions); Sterling, 232 F.3d at

197–98 (recognizing privacy interest implicated in case involving disclosure of 18-year-old

arrestee’s suspected homosexuality to arrestee’s grandfather).

        Like an individual’s HIV status, sexual orientation, gender identity, or sexual assault, the

“personal matter” at issue here—the decision to have an abortion—is highly sensitive, intimate,

and emotionally charged. See, e.g., Thornburgh v. Am. Coll. of Obstetricians & Gynecologists,



                                                  21
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 22 of 27



476 U.S. 747, 772 (1986), overruled on other grounds by Casey, 505 U.S. at 882 (“[f]ew

decisions are more personal and intimate, more properly private, . . . than a woman’s decision . . .

whether to end her pregnancy”); cf. Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678,

685 (11th Cir. 2001) (citing a number of decisions that have “pointed to abortion as the

paradigmatic example of the type of highly sensitive and personal matter that warrants a grant of

anonymity” in legal proceedings); Nat’l Ass’n of Waterfront Employers v. Chao, 587 F. Supp. 2d

n.8 (D.D.C. 2008) (identifying “matters of a sensitive and highly personal nature” that may

justify permitting a party to proceed in litigation anonymously to include “those dealing with

birth control, abortion, homosexuality or the welfare rights of illegitimate children or abandoned

families”).

       As detailed above, mandating that minors either breach their own privacy (or have their

privacy breached) by revealing the intimate and sensitive fact that they are pregnant and/or

seeking abortion can result in serious, concrete harm beyond just the privacy invasion, including,

inter alia, further traumatization of minors who are pregnant as a result of rape or sexual

assault,10 and abuse or rejection at the hands of parents or sponsors upon their being made aware

that the minors were or are engaged in culturally taboo activities (i.e., having sex or seeking or

obtaining an abortion). See supra 10–15. Indeed, the record in this case shows that fears of

“discrimination and intolerance,” Doe, 15 F.3d at 267; see also Powell, 175 F.3d at 111–12, and

retaliation if this extremely sensitive, private health information is disclosed are not speculative.

For example, Defendants told Ms. Poe’s prospective sponsor about her pregnancy and abortion

10
  Moreover, compelling minors who are pregnant as a result of rape or sexual assault to reveal
their pregnancies and abortion decisions to parents or sponsors may also require them to reveal
the circumstances by which they became pregnant (i.e., their sexual assault), which – as noted
above – is another extremely sensitive type of information that courts have recognize deserve
privacy protections. See Bloch, 156 F.3d at 685–86.



                                                 22
         Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 23 of 27



decision; he then threatened her with harm. See supra 7. This threat in turn likely scuttled Ms.

Poe’s prospect of release to this sponsor and the opportunity to be reunited with a family

member. Defendants simply cannot justify this blatant violation of minors’ informational

privacy rights and all associated harms, especially where (as here) the evidence shows that, inter

alia, their blanket policy applies regardless of the harm it would impose on a minor and/or her

family, supra 19–20, and that minors often already have a trusted adult to discuss their decision

with, should they choose to do so. Rangel Decl. ¶ 14; Kaley Decl. ¶ 7. Accordingly, Plaintiffs

are likely to succeed on their informational privacy claim.

   II.      PLAINTIFFS WILL SUFFER IRREPARABLE INJURY UNLESS
            DEFENDANTS ARE ENJOINED.

         As explained above, there has been a steady stream of class members who have requested

abortion information or access to abortion since this Court’s preliminary injunction on March 30,

2018. See Kaley Decl. ¶ 5 & Exhibit A (showing that at least 31 minors requested access to

abortion after March 30, 2018 through to the end of 2018, and that at least 22 minors requested

access to abortion in just the first six months of 2019). In fact, Plaintiffs’ counsel are currently

helping a class member seeking access to abortion as of the date of this submission, and have

assisted five other class members who requested abortion within just the last two months. Id.

         The frequency of unaccompanied immigrant minors seeking access to abortion while in

ORR custody underscores that Plaintiff class members will imminently experience irreparable

harm if Defendants are permitted to resume their policy of coercing minors to tell (or have

Defendants tell) parents or sponsors that they are pregnant and/or seeking or have obtained an

abortion. As discussed above, and in the attached declarations, there are myriad reasons why

some minors do not want to tell their parents and/or sponsors of their pregnancy and abortion

decision, including, inter alia, fear of abuse and rejection, fear of harm to parental and familial


                                                  23
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 24 of 27



relationships, and concern that disclosure will impose undue stress and additional burdens on

their parents. See supra 10–12; Ehrlich Decl. ¶¶ 9–29; Rangel Decl. ¶¶ 4–14; see also Comm’r,

Ind. State Dep’t of Health, 258 F. Supp. 3d at 946–47.

       These fears and concerns are not unfounded. To the contrary, as established above,

experts in the field and major medical organizations confirm that mandating that minors’ parents

and/or potential sponsors be informed of their pregnancies and desire for an abortion risks,

among other things: exposing minors to emotional or physical abuse once they are reunified

with or released to their parents and/or sponsor, Rangel Decl. ¶ 12; Ehrlich Decl. ¶ 33 (citing

APHA opinion); id. ¶ 35; undermining minors’ opportunity to be placed with their sponsor,

Rangel Decl. ¶¶ 10, 13; Ehrlich Decl. ¶ 33 (citing APHA opinion that minors may be forced to

leave home upon disclosure); straining or fracturing family relationships, and leaving minors

isolated and ostracized, Rangel Decl. ¶¶ 9, 13; Ehrlich Decl. ¶ 19; id. ¶ 31 (citing AAP opinion);

id. ¶ 33 (citing APHA opinion); and further traumatizing minors who are not emotionally ready

to discuss the potentially traumatic experience (i.e., rape or sexual assault) that resulted in their

pregnancies, Rangel Decl. ¶ 9. Indeed, as detailed above, Defendants themselves admit the

forced disclosure to parents can cause harm, supra 8, and this harm is further evidenced by the

record in this case, including Ms. Poe’s example where both her parent and her sponsor

threatened abuse if she had an abortion, causing her to briefly retract her abortion request, even

though she expressed a desire to self-harm if forced to carry her pregnancy to term. See supra 7–

8. Furthermore, Ms. Poe’s sponsor’s threats of violence in reaction to the forced disclosure of

her desired abortion likely prevented that sponsor from taking custody of Ms. Poe. Subjecting

minors to these risks and harms under the pretense that doing so will “help lead to the best

decisions” and “advance the [minor’s] best interests,” Sualog Decl. ¶ 7, is especially unwarranted



                                                  24
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 25 of 27



where, as here, the evidence shows that many minors considering abortion already have a trusted

adult (often an older sibling, attorney or social worker) in whom they can confide and with

whom they can discuss their abortion decision. Rangel Decl. ¶ 14; Kaley Decl. ¶ 7.

   III.      THE BALANCE OF HARM STRONGLY FAVORS PLAINTIFFS.

          Plaintiffs will suffer irreparable harm in the absence of relief from this Court, while

Defendants will suffer none. Defendants have already been enjoined from enforcing their

compelled disclosure policy for over a year, since this Court first issued preliminary injunctive

relief on May 30, 2018. And in the many years prior to the confirmation of then-Director Scott

Lloyd, ORR did not coerce minors into telling anyone about their pregnancy or abortion decision

against their will, and there is no evidence that the absence of a forced disclosure policy

interfered with ORR’s operations. Thus, the balance of harm is heavily in Plaintiffs’ favor.

   IV.       A PRELIMINARY INJUNCTION SERVES THE PUBLIC INTEREST.

            The public interest is served when constitutional rights are protected. “It is always in

the public interest to prevent the violation of a party’s constitutional rights.” Simms v. District of

Columbia, 872 F. Supp. 2d 90, 105 (D.D.C. 2012) (quoting Abdah v. Bush, No. 04-cv-1254,

2005 WL 711814 at *6 (D.D.C. Mar. 29, 2005)); accord Lamprecht v. F.C.C., 958 F.2d 382, 390

(D.C. Cir. 1992) (“a [government] policy that is unconstitutional would inherently conflict with

the public interest”); Newsom ex rel. Newsom v. Albemarle Cty. Sch. Bd., 354 F.3d 249, 261 (4th

Cir. 2003) (“Surely, upholding constitutional rights serves the public interest.”); Planned

Parenthood Ass’n of Cincinnati, Inc. v. City of Cincinnati, 822 F.2d 1390, 1400 (6th Cir. 1987)

(“the public is certainly interested in the prevention of enforcement of ordinances which may be

unconstitutional”); Carey v. Klutznick, 637 F.2d 834, 839 (2d Cir. 1980) (“the public interest …

requires obedience to the Constitution”). In the instant case, there is no conceivable way the



                                                   25
      Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 26 of 27



public interest will be adversely affected by prohibiting Defendants from mandating that minors’

parents and sponsors be notified of minors’ pregnancies and/or abortion decisions against the

minors’ will.

                                         CONCLUSION

       For all of the foregoing reasons, Plaintiffs respectfully request that this Court issue a

preliminary injunction prohibiting Defendants from revealing a minor’s pregnancy or abortion

decision, or coercing the minor into revealing her pregnancy or abortion decision herself, unless

the minor provides uncoerced consent.

August 8, 2019

                                              Respectfully submitted,

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                                                 26
Case 1:17-cv-02122-TSC Document 144-1 Filed 08/08/19 Page 27 of 27



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                                27
Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 1 of 9




                    Exhibit 1
Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 2 of 9
Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 3 of 9
Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 4 of 9
Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 5 of 9




                    Exhibit A
                                                                            Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 6 of 9

                                                                                                                                                                                               ~stAgc
                                       Pro g ram. Name.     Faithbased   Statc.Requc.s   TOP.Date . GcstAgc.         Program.Name.            Faithbased.                      TO P.Perf orm ed .Pcrfonn                                                                                                Notes - SIR, options
A. Numb«   ILast .Name   IFfrst.Namc   Reaue .sted          .R eaues tcd tcd             Rcauested       R caues ted Pe rformed               Per fo rmed   State.Performed    .Date            cd       ORR.Funded    T OP .Year Notes                                                                 couns. 1 l i\olE/MC

(b)(6)
                                                                                                                                                                                               :lpp ro x                                                                                                Case Revie,,,
                                                                                                                                                                                                                                                                                                                   v D oc not
                                       $\'(fK Canuti llo   0             T exas          2014-0 1-02     12 weeks       S\'i/ K Canu tillo    0             Ne-\,, Mexico      2014- 02 -04    16 weeks no t d ear     20 14                                                                            upload e d to RFP Fo ld er
                                                                                                                                                                                                                                                                                                        Pla nned. Parentho od ;
                                                                                                                                                                                                                                                                                                        SIR s/U A C Case Review
                                                                                                                                                                                                                                                                                                        not up lo :tded tu RFP
                                       S\VK Gs a Blan( a 0               T exl.l.s       2014-04 -24     18 w('Ck$      SWK Cas a Bkmca 0                   Texas              2014- 0S-09     19 weeks no             20 14      iudicial bvo ass; ao oro vcd b" OR R                                  folder

                                       CathoLic Charities                                                                                                                                      approx                                                                                                   SI Rs rlO t uploaded to
                                       Borstown           1              Florid-a        2014- 09-17     7 weeks        Lorralne ·n1omas 0                  Florida            2014-10-14      t l weeks no t clea r   20 14      UC rePorted vh     \l a \                                             RFP folde r
                                       SWK 1.-t:mon                                                                  SWK Lemo n                                                                approx
                                       Grov e             0              C:1lifo m i!l   201 5-04 -28    10.5 we eks Gro ve                   0             Ca liforni :1      201 5-05- 12    14 wee ks yes           20 15
                                                                                                         app rox 9                                                                             approx
                                       SWK Casa Blanc a 0                T exas          2015 -06-01     wee ks         SWK Casa Blanc a 0                  T e:-:as           2015-06-26      15 weeks        ·es     20 15      UC t>te<"1ruic 1· SIR 5/Z7; iudicial bl'Oass

                                       Bokenc am p         0             T exas          2015-06- 11
                                                                                                         app rox 8
                                                                                                         wee ks         l lca rd:md c:JIA P 0               Jllinois           2015-07-0 8
                                                                                                                                                                                               approx
                                                                                                                                                                                               tO wee ks yes           20 15
                                                                                                                                                                                                                                  Kb)(6)
                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                               approx
                                                                                                         app rox 9                                                                             10.S                               de cision da te is not en tirely d ear (so urce U/\C SI R l) ;        Pla nned Partnth ood. in
                                       Car u.v:aCente rs   0             N ew York       2015-08-31 wee ks              Caru~ .1Cent er s     0             N ew Yo rk         201 5-CJ<J
                                                                                                                                                                                       .l1     weeks           no      20 15      O RR ap prc-"'al o n 9/8/01 5                                         NY
                                                                                                                                                                                               approx
                                       Chi Jdren's V ilfage                                              app rox 18     Ch ddre-11's Village                                                   20.5
                                       She lter             0            N ew York       2015-09-22 wee ks              Sheller              0              Ne\\ • Yo rk       2015 - 10- 14   weeks           no      20 15


                                       C hildr en's ViJJage                                              :i.pp ro>.. 17 Chikiren 's Village                                                    app rox .
                                       Shelt e r            0            N ew Yori::     2015-0 9-29     wee ks         Sheller             0               New Yo rk          2015 - 10-09    18 weeks no             20 15      09/04/20    15 - 7 wee ks prce naM
                                       $\'(fK Lemon
                                       Grtwe               0             C:difo mi~t     201 5- 11-04    no t d e-:tr   no t d e-:tr          0             not clea r         201 5- 11-07    not clear       no      20 15

                                       Lea ke and \X1:ms   0             N ew Yock       2015- 11-09     no t d ear     Lea ke and     w~ms   0             New Yo rk          2015- 11-23     ll O { clet   r no      20 15
                                                                                                         app rox 12                                                                            app rox
                                       Cavui:mCente rs     0             N e\v York      201 5- 11-12    wee ks         Ca ·u~.1Cent er s     0             N ew Yo rk         201 5- 11-24    14 w eeks. ·es          20 15      Plann ed Pne mho od.
                                                                                                                                                                                                                                   b)(6)
                                       Chi Jdren's Village                                               app rox 14     Chddre-11's Village                                                    15.4
                                       She lter            0             N ew York       2015 - 11-18    wee ks         Sheller             0               Ne\\ • Yo rk       2015 - 12-03    weeks           ·es     20 15
                                                                                                         app rox 6.5 Kids Pe:ice/ Kids                                                         afte.r 10 .5                       T O P \Vas p refo rme.d in J an uary ... SIR sta tes infectio n
                                       IGS Los Fre snos    0             T exas          201 5- 12-07    wee.ks      Have n                   0             Pe nn s,,Jv:inia   2016- 01 -21    week s       yes        20 16      lposr proce d ure:


                                        SWKCas a                                                                     SWK Casa                                                                  6- 11
                                       IQ uetzaJ           0             T exas          2016-0S-27      8-2 week s IO ue czal                0             T e xas            2016-06-30      \\.·eeks        r es    20 16      1-lo usto n \'\?omen 's Cent er, L.\ IP 5/1 5
                                                                                                         no te/ ear,
                                       Morrison                                                          est. at leas t Mo rriso n
                                       D o,1mto1,1.
                                                •n         0             Or eoo n        2016- 07- 12    10 we e ks     D o wm ow n           0             Or e i:.
                                                                                                                                                                  ,on          2016 -07-26     not dea r       ·es     20 16      Love iov Sun dce n te r
                                                                                                                                                                                               ll-10
                                       SWK fatre.113       0             Arb:orui.       2016-08•07      4-0 week s     SWK Est rella         0             Arizo na           2016-08 -16     week s          ·c,     20 16      Plann ed Parentho od in T em pe Ari,m na
                                                                                                                                                                                               appr o x
                                                                                                                        Kid s.P eace/Kids.                                                     11- 12                           l(b)(6)
                                       Home stead          0             1~1o rida       2016- 11-02     no t d ea r    H aven                0             Pe nn s,,Jvan ia   2016- 12-02     weeks           No      20 16                                                                            \/o me n's Ho s.n ic-.1.
                                                                                                                                                                                                                                                                                                                              I
                                       SWKC."'                                                           :i.pp rox 2                                                                           :ipp rox 8-
                                       IO uctzaJ           0             T e>.as         2016- 1 1- 14   to 6 wee ks l·lco,tlond CH1\ P 0                   Illinois           2016- 11-28     12 weeks        \'CS    20 16      LJ\rP,Sc ote mbc:£20 16
                                                                                                         app rox 2-4 Crittent o n                                                              :tppro x 4-
                                       C rittemon Sheller 0              Califo mi~,     2016 - 11-22    wee ks      Shelter                  0             Califo rnia        2016- 12-05     6 week s No             20 16      LM P. 10/2 3/ 16                                                      Pl:tnn ed Parentho od


                                                                                                         app rox 5.5 SWKCase                                                                   approx
                                       SWK Es r.re lla     0             Arfao na        2016 - 11-22    \vee ks     Es t.relfa               0             Arfao na           2016- 12-06          •ee ks ·es
                                                                                                                                                                                               7.5 1,1.                20 16      L~IP. 10/ 11/20 16
                                                                                                         app rox 7      SWK Ha cienda                                                          app rox
                                       SWK Sol             0             Arb:orui.       2016- 11~28     wee ks         del So l              0             Arizo na           2016- 12• 14    1 I wee ks      ·c,     20 16      Plann ed Parenthood , Li\lP t 1/0 5/ 20 16
                                                                                                         app rox 6                                                                             approx 9
                                       Hom estead          0             Flo rid-a       2016- 12-07     -.,;
                                                                                                           ·eeks        H ea rthu\ d SCl Y    0             Illi11ois          2016- 12-20     weeks           ·es     20 16      I.MP, 10/28/20 16                                                     Pl~u1ned Parent hood
                                                                                                                        i\lorri so n                                                                                              o pt ions co un seling p rovid ed ; UC req uested a first
                                       Mor riso n          0             Or egon         2016- 12-21     6 wee ks       D o wntown            0             O rc:_go
                                                                                                                                                                   n           2017- 01 -05    9 \Veeks        No      20 17      trime st.c:r rerm inario n
                                        Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 7 of 9

(b)(6)                                                             approx 8- Leake & Wms                                                 approx S-
         Homestead                0   New York      2016- 12-28    10 ,veitk:!; TIT                     0   New Yo rk     2016- 12-30    to weeks. No   20 16    L~IP, 10/I0/2016                                               Planned. Parenthood.

         SWK Kokonclli                Arizon.1      2017-01-1)4
                                                                   :i.pprox 12
                                                                   weeks             SWK Kokooclli 0        Arizona       2017-03--02
                                                                                                                                         approx
                                                                                                                                         16 weeks No    2017
                                                                                                                                                                Ib)(6)                                                          i'-"1m
                                                                                                                                                                                                                                     clb.ick Family
                                                                                                                                                                                                                                Pl.innin~

         BC:FSSan                                               approx 3                                                                                         TO P req uest resc inded on 02/03/20 17 howeve r mus,
         Amon io                      Texas         2017-02--01 wee ks               na                     n,            na             n,        na            lu.vc requested TOP ~in and rc!icindc:d on .1/13/20 17
                                                                   approx 7
         Hean.land                    1mnois        2017-02-01     \veeks            no                     n,            na             n,        na            TO P Req\lest rescin d ed on 02/02/20 17
         St PJs Chil dre:ns                                        approx 8                                                              approx 9
         Home                         Tex as        2017-02-17     wee ks            SWK C.asa Blanca       Tcu ...       2017-0.l-02    weeks    No    2017     Chemica l Term inat io n
                                                                   approx 9
         SWK LasPalmns                Arizona       2017-03-20 -.,;
                                                                 ·eeks    n,                                              n,                                     Child remlifted on 4/8/20 17
                                                                approx 16
                                                                                                            "'                           "'        "'
         SWK Kokopdli                 A rizona      2017- 06-15 wee ks    na                                n,            na             n,        na            TO P Rcquc.~tn=scindcd on 06/ 19/2017
                                                                   approx8                                                                                       TO P Req\lest rescinded on 07/07/20 17 after d1sclosu,e
         SWKSol                       Arbr.ona      2017-07-05     weeks                                                  no                       na            with FOC and famJlv
                                                                                     "'                     '"                           '"
                                                                                                                                                                 Un clear if TO P Re9ucsr; , \d viscd by p rogrnm chat n or a
                                                                   approx 8                                                                                      TO P request h owever underwem counse ling; chi ld
         S\'(I}( l..'lS Palm:is       Ar i;i:ona    2017-08- 10    weeks             n,                                   n,                       oa            rcun.i6c:d
                                                                   approx 9
                                                                                                            "'                           "'
         IES Los Fresnos              T exas        2017-09-19     weeks             IES Los Fresnos        Texas         2017-10-25     15 weeks No    2017     Consensual
                                                               app rox 9                                                                                         TO P Request rescinded on 9/28/2017 afrcr family
         S\X1K Glcncble               Arizona       2017-09-25 weeks                 n,                                   na                       na            sess ion.
                                                                                                            '"                           '"
                                                                   approx 2
         IES Los Fresnos              T exas        2017-10-23     weeks             na                     n,                           n,        n,            t\1-:ertdeterm ination- 11-6--2017 dischanre d
                                                                 app rox 7
                                                                                                                          "'                                     Program did nor norifyO RR of TOP Re9ucsr nor did
         Abbot { House                New Yori::    2017- 11--09 weeks               Abbon House            New York      2017- 11--09   8 weeks   No   2017     the 1,ro,e.r:imobr:i.in O RR Dir ector approva l               ~Ir. Sin.1i Hosp ital
                                                                                                                                                                 Notifica tion to ORR I IQ on 12/2; Ch ild refuses OB
         f\fonison                                                 approx 9                                                                                      app t; US ok if mon iror i~ turn ed a\\-.t}';Age
         Downtmvn                     Oreron        2017- 11-27    week~             n,                     n,            na             n,        na            Redeterm ination ( I9yrs); DC to ICE on 12/ 20/ 20 17
                                                                                                                                                                 b)(6)


                                                                   app rox 20
         Abbott House                 New Yori::    2017- 1 1-29   weeks             Abbou House            New Yo rk     2017-12-20     22 weeks No    2017
                                                                   approx 4                                                              approx 4                Chi.Id evaluate d hr OB and ,administered mifeprist0ne
         YouthCare                    Washin(oton   2017- 12-05    weeks             YouthC ~lre            Wash in~ton   2017-12-05     weeks    No    2017     (chem ical term ination) on 12/ 5;                             f-larborview
                                                                   approx 16
         Criuemon Shelter             Califom.i.i   2017- 12-29    weeks             n,                                                            na            Childr-cm\itiedon   1/ 14/201S
                                                                                                            '"            "'             '"
                                                                   approx 10
         SWKCampbell                  Arizona       2018-0 1-0'J   weeks             na                     n,            na             n,        n,
                                                                                                                                                                 b)(6)
                                                                                                                                                                                                                       I
                                                                                                                                                                 Pregnancy resuk oi con.sensual relations; DHL' C noticed
                                                                approx 9                                                                                         rec1ti~l in SIR on l /'2.IJ/20 18; 2/ I informed by program
         IES Nomu        Linda        T exas        2018-0 1-22 \\'eeks              no                                   na                       na            r.har.chtld re.sdnded rec11Jest
                                                                                                            '"                           '"
                                                                                                                                                                 Request resc inded on 2/7/2018; options discussed with
         SWKNuev.i                                                 Approx 6                                                                                      Probar :irtorney on 1/ 24/2018; unclear when re9 ucst was
         Espc r:mw                    Tex.is        2018-01-24     weeks             n,                                   na                       n,            made .
                                                                                                            '"                           '"
                                                                   approx 4-S                                                                                    Pre,btt1anq result of consensual relations to 15 yo male in
         SWK Anti~ua                  T exas        2018-03-07     weeks      na                            na                           na        n,            COO _; reunified 3/ I 7
                                                                                                                          "'                                     Ut\C aged out on 3/1 4/'2/J IS; 2 days afrcr her request •
         SWK Dsa Blanca               T exas        2018-03-12     Unlmown           n,                     '"            na
                                                                                                                                         '"        na            un known GA
                                                                                                                                                                 b)(6)                  l ninor ex pressed chat she w-ants 10
         SWKAntii;:ua                 T exas        2018-04--03 ~8.9 weeks na                               n,            na             n,                      have her b:1br
                                                                                                                                                   '"
         SWK Rio Grande               T exas        2018-04-04 - 4.5     \\'C(:k.S   n:i                                  n,                       oa            Consensual Activit •; m.inor reunified 4-7•2018
                                                                                                            '"                           '"                      l\lino r requested infonna tion on 5/4 / 2018; rescinded
                                                                   Appmx 18                                                                                      requ o;t on 5/10 :i.frcr initi:i.l OB appt; con..,ensual;
         SWK Franklin                 Texa~         2018-05..07    wee ks            n,                     n,            na             n,        na            reun ified 5/26
                                                                                                                                                                 Consensual re lations; M inor requested additional
         SWK N uev-a                                               Ap prox 21                                                                                    information on 2nd term abortion; decided to rescin d
         Esperanza                    T ex.as       2018- 05-07    wee ks     na                            n,                           n,        n,            request and proc eed v..ith adoption
                                                                                                                          "'                                     Consensual f"el.\rionswith 15 yo boyfr iend; UAC
         SWK EscreUa                  Arizona       2018-05-22     4 weeks           N t\                                 na                       na            reun ific:d
                                                                                                            '"                           '"
                                    Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 8 of 9


(b )(6)                                                                                                                                                  Neg prc:gduring !!\IE, c/ o abcl pain Prcg +, cons ens ual
                                                             Ap prox 14 $WK                                              approx                          rclarions, sought TO P via atto rn ey, Judici:111Brpas s
          SWK i\lom c:zuma       T exas       2018-06-06     wee ks     i\ lontczuma          Texas        2018-06-29    18 weeks No            20 18    1,rr-.,mcd6/ 1.5, 2 d:1,, oroccdure 6/28, 6/29


                                                                                                                                                         (b)/6)                                                      ~ c9
                                                                                                                                                         J U P but ,vantmg to seek serv ices aftcc rcumt 1caooo;
          Youth for                                          Approx 9                                                                                    6/18 seen lo ED foe ADD ~in and dx with possible:
          Tomorrow               V iroinia    2018-06-21     wccks        n,                               n,                       na                   rniscarria'-'c; reunified on 7/ 14/2018-:i.t - 12 ..vccks IUP.
                                                                                              '"                         '"                              Mino r was determined to be non•prcgn:lm, possib le
                                                                                                                                                         spon taneous abortion-excess tis.sueon US; h\[E
           S\XFKC1s:il                                                                                                                                   p«:gnancr test+; 6·28 initial 013 i\ PPT: OB Prcgm,ncy
          IOuctz:ill             Texas        2018-06-27     Unknown      n,                               no                       n•                   rest nee, HCG nee.
                                                                                              '"                         '"
                                                                                                                                                         Notified o f an artorncy arr:inging for modical appt.
          SWK Nucva                                                       SWK Nucrn                                      Approx 9                        C..om:cnsual relations with 19   ro male; unclear \vhen the
          E.spcran7..a           T e>::as     2018-07-01     7 wee ks     E$pc.rnnza          Texas        2018-07-20    \Veeks                 20 18    reque$t was made . .. earlr Ju lv 20 18 likclr.
                                                                                                                                                        (b)(6)                             ln inor was informed 28 weeks
                                                                                                                                                         g-csutional age beyond GA fo r abort ive procedure;
                                                             Ap prox 28                                                                                  i\l ino r s1a1e:d she \vill try to take care o f the baby hui i f
          SWK Estre lla          A rizona     2018-07-1 1    wee ks     na                    na           na            na         na                   no t s.he w ill ask her Aunt

                                                                                                                                                          b)(6)
          C::itholic Charities                               Approx 12                                                   Approx
          Bovstown               Flo rid:i    2018 07- 12
                                                   4
                                                             wee ks       Risinl!' Ground     New York     2018-07-27    l4 weeks Nn            20 18


                                                                                                                                                         C..onsensual relations a lthough unclear of circumstances.;
          He:1r1J:md                                                      1-le:anland                                    Approx                          AC LU invo lved.; ob tained. jud icial hr pass 8/ B; rccei\fed
          Gua da lupe.           Illino is    2018 07 25
                                                   4   4
                                                             7 wee ks     Gu.1dalupc          Illinois     2018-08-23    t I weeks No           20 18    TA R 8/ 17; no documenta tion in porta l
                                                                          Somhwes t Ke)'S                                Apptox
          SWKAnt.iJ:?;ua         T exas       2018-07-31     6-7 weeks    AntiJ:?;ua          Te xas       2018-09-07    12 weeks No            20 18    Coosensl1al relations with 18    \ 'O   e:<•l:>1wfrieodh, COO
                                                                                                                                                        (b)(6)
          SWKCm                                              4 weeks 6
          FrankliJ.1             T cx,,s      2018-08-01     da, ·s       NA                               na                       oa
                                                                                              '"                         '"                              C'.onsen.s;ualrd:itions w ith boyfrien d in COO; :ifte r the
                                                                                                                                                         child talked with he r mother and was told it will he OK,
          S\VK Anti~ua           T exas       201&-08-02     10 -1 \w eek s NA                na           no            na         na                   child resci nde d her TO P request
          David and                                          10 weeks 2 na vid a11d                                      Appro:.,c                        h\/R\                      kequesrs no parental
          Mar:.-aret             California   2018-08·03     da,'S      l\ lan.-.,uet         Califoroja   2018-08- 16   12 weeks Pend.in£!     20 18    11ouficalioc1; SMR submitted 8/7 seek.in-. federal fonds.

                                                                                                                                                         Kb)(6)
                                                             Ap prox 8                                                   t\pprox
          He:1.nl:1,n
                   d CHAP        I Uino i.s   2018-08--04 weeks           l·lcartlond CHA P   Illinois     2018-08-28    12 weeks No            2018
                                                                                                                         :lpprox                        /b\/ 6)                        17 wee ks gesta tion by &ltes on
          $\'(fK Anti,;:ua       T exas       2018-08-07     7 weeks      SWKAmiqua           Texas        201&-09-07    t t weeks Pen di nl{   20 18    8/7

                                                                                                                                                        (b )(6)



          Homcs t~d              Flo rida     2018-09- 17    16 weeks     NA                  n,           n,            n,         n•
                                                                          SWK Casa EJ                                    Approx
          Homestead              1~1o rid:a   2018-09-17     9 weeks      P res ide me        Texas        2018- 10-06   t i weeks. No          20 18    Consensua l relations with 20 ·o male in COO_;
          BCFS San                                                                                                                                        Consensual f"el;nio ns w ith 19 yo male in COO; Twin
          Amon io                T ex.is      2018- 10-01    ~8 weeks     o,                               na                       na                   lecst.irion; ae:00 ou t on 10/ 18/20 18
                                                                                              '"                         '"
          IJC!•S San                                                      IJCf,SSan                                      Approx
          Amon io                T exas       2018- 10-03    ~8 9wce ks Antonio
                                                                4
                                                                                              Texas        2018- 10-20   12 weeks No            2018     Consensual relations with 17 ro male in COO


                                                                                                                         Appro:.,c                       (b)/6)          lnitiaUr thought to be 11 -.,;
                                                                                                                                                                                                     'ee ks gestation
          Cavu~     Centers      New Yori..   2018- 10- 19   ~ l l weeks Ca '\ lg-a Cemers    New York     2018- 11.07   18 weeks No            20 18    but US near time of oroce dure mdie:ned 18 \veeks.
          SWK El                                                                                                                                         l\l ino r rescinded request afte r jud icial bypass was
          P resi dcn1e           T exas       2018- 11-11    ~8 weeks     n,                  na           na            NA         NA                   obtained . Di schai1rcd to S-J>o nso r
                                                                                                                         Approx
          I lieVillai:teS        ~11sas       2018- 11· 13   4-G weeks    The Vilfal..>eS     Kansas       2019-0 1-04   13 weeks Yes           20 19    (b)(6)                                                     I
          Homes tead             Flo rid!!.   2018-1 1-15    ~ 8 9 weeks na
                                                                4
                                                                                              na           n,            na         na
                                                                                                                                                          b)(6)
                                                                                                                                                                                                                          I
                                Case 1:17-cv-02122-TSC Document 144-2 Filed 08/08/19 Page 9 of 9

b)(6)   SWK Nuev-a                                                        SWK Nutv3                                            Approx                     Consensual with 18 yo male in COO; voluntal)'
        Esoer:mza            T ex.as         2018-11-20 9-10 weeks Esoernnza                     Texas           2018-12-14    14w eeks. No      2018    deoa nu re
                                                           18-19                                                               t\pprox                    (b)(6)
        SWKAncima            Tex.is          2018-11-20    weeks          SWKBl,nc,              Texas           2018-12--06   19 weeks No       2018
                                                                                                                                                         Limb bod)' \\..-illcomplex cong.::nitalanomal)•-fatal
                                                                                                                                                         cond ition; discharged 12/2 1 to sponsor to pursue
                                                                                                                                                         termination; MFM discussed tcrrnination vs ca.rcyiog,o
        BCFS DciscoU         Tcus            2018-12-17    ~20 \\'ec:ks   n,                                     n,                        oa             term; minor ontcd for termination
        Heartland Jml                                                     He--.1
                                                                              rcla:ndlm l
                                                                                                 '"                            '"                         Notified on 1-4-2019; consensual re lations in COO;
        Ch ildrens RC        I llinois       2018-12-19 ~ 12u-eeks        Childrens RC           Illinois        2019-0 1-08   16 weeks No       2019     Initial olacemenr at Homestead->Heartbnd
        S\XFKC1s:il                                                       SIVK                                                 - 14
        .Montczum:i          Texas           2018-12-26 ~9 weeks          ~rontczum:1            Texas           2019-02--06   weeks       No    2019     Consensual
                                                                                                                                                          b)(6)

        KidsPe.icc           Pcnnsy(\~,nia   2019-01--02 4-5 weeks n,                                            no                        na
        $\'(fK Nue,ra
                                                                                                 '"                            '"
                                                                          SWK Nueva                                            -13
        Esoer:inza           T exas          2019-0 1-11   8-9 weeks      Esoenuiza              Texas           2019-02-08    weeks       No    2019     Consensual activin•
                                                                                                                               - 11-12                    b)(6)
        CC Houston           Tex,.s          2019-01- 15   -7wccks        Leake and \'(fans      New York        2019-02-19    weeks       No    2019
        SWKEI                                                                                                                                             Consensual Activitr; Minor requested sponsor
        Presidente           Texas           2019-0 1-29   ~ 16u-eeks na                         n,              na            n,          na             notification; mino r rt'unified.with sponsor
        CHS I Casa                                       -8- 10           CHSI Casa                                            - 14                      minor denied SJ\ or assault, procedure done on 3-1; had
        NorrnaL i.nda        Tex,.s          2019-02--01 weeks            Norma Linda            Texas           2019-03--01   weeks       No    2019    evaluation and need second oroocdurc I i,.veekh{er



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Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 1 of 32




                     Exhibit 2
          Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 2 of 32



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
J.D., on behalf of herself and others similarly   )
situated, et al.,                                 )
                                                  )
                       Plaintiffs,                )
                                                  )
 v.                                               )   Civil No. 17-cv-02122-TSC
                                                  )
ALEX M. AZAR II, et al.,                          )
                                                  )
                       Defendants.                )
                                                  )

             DECLARATION OF J. SHOSHANNA EHRLICH, J.D., IN
      SUPPORT OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

J. Shoshanna Ehrlich, J.D., declares the following:

          1.    I submit this declaration in support of Plaintiffs in the above-captioned case.

BACKGROUND AND QUALIFICATIONS

          2.    I am a Professor of Women’s, Gender, and Sexuality Studies at the University of

Massachusetts Boston, and I hold a J.D. from Northeastern University School of Law. The

information relied on in forming my opinion comes from my 30-plus years of working with and

studying teens seeking abortion care, in particular, teens who seek to terminate a pregnancy

without the knowledge or consent of their parents.

          3.    After graduating from law school in 1982, for more than a decade, I represented

teens who were seeking a judicial waiver of the state’s law requiring parental consent for an

abortion as a trained member of the Judicial Consent for Minors Lawyer Referral Panel (Referral

Panel).

          4.    I have also been an active member of the Steering Committee of the Referral

Panel for more than thirty years. In this capacity, I provide support to lawyers who represent



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       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 3 of 32



teens in bypass hearings (particularly those handling difficult cases), prepare training materials,

and trouble-shoot problems that arise within the court system.

       5.      I have also provided expert legislative testimony on parental consent laws both in

Massachusetts and in other states and have conducted trainings across the country for attorneys

and reproductive health care providers regarding how to represent teens needing waivers of

parental involvement requirements and how best to set up a coordinated system for providing

such representation.

       6.      As an academic, I have researched and published extensively on this topic over

the course of the past two decades or so. I have presented widely at conferences on the abortion

rights of minors, including as an invited keynote speaker, and I have authored a prize-winning

paper on the topic. My work in this area is widely cited by other scholars. I am also intimately

familiar with the relevant scholarly literature.

       7.      In 2006, I published the book Who Decides? The Abortion Rights of Teens, which

features the results of detailed interviews with 26 Massachusetts teens who went to court rather

than tell their parents of their intended abortion. Their testimonies highlight the harsh costs of

mandated disclosure policies and make clear that this is a misguided approach that results in

tangible harms to young women.

       8.      My education, training, and experience are set forth in greater detail in my

curriculum vitae, a copy of which is attached here as Exhibit A.

STATEMENT OF OPINIONS AND THE BASES AND REASONS FOR THEM

       9.      It is my understanding that Defendants in this case have adopted a policy

requiring minors to tell their parents and prospective sponsors that they are pregnant and that

they intend to have an abortion. If a minor refuses to do so, this policy dictates that notice be




                                                   2
         Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 4 of 32



given by shelter staff over the pregnant minor’s objection.

         10.      I further understand that this is a blanket notification mandate to which there are,

in practice, no permissible exceptions.1

         11.      Based on my decades of experience, it is my expert opinion that Defendants’

forced disclosure policy does not foster family communication and, more importantly, places

minors at risk of serious harm.

         12.      It is my further opinion that young women are far better situated than Defendants

to assess the likely risks of disclosure based on their own lived realities, which may well include

a history of harsh parental treatment.

         13.      Indeed, for just these reasons, as detailed below, every major medical

organization, including the American Medical Association and the American Academy of

Pediatrics, has taken the position that minors should not be compelled to tell their parents of their

abortion decision.

Grounded in the Realities of Their Lives: The Harms of Mandated Disclosure

         14.      The majority of minors in the United States voluntarily talk to at least one parent

(most commonly a mother) about their pregnancy and intended abortion regardless of whether or

not they live in a state with a parental involvement law.2

         15.      However, research has consistently shown that many minors choose not to tell

their parents about their intended abortion for a number of critical reasons. As discussed herein,

key concerns include, although are not limited to: fear of an adverse parental reaction, such as


1
  I understand that Defendants have claimed that their notification policy includes an exception for situations in
which notification would expose the minor to abuse or harm. However, I have been informed by Plaintiffs’ counsel
that this exception has not been applied in practice, as is reflected in the case of Jane Poe, detailed below, and in the
case of other minors, whose parents or sponsors threatened abuse following forced notification.
2
  Lee A Hasselbacher, et. al., Factors Influencing Parental Involvement Among Minors Seeking an Abortion: A
Qualitative Study, 104 J. of Public Health 2207 (2014); Stanley K. Henshaw and Kathryn Kost, Parental
Involvement in Minors’ Abortion Decisions, 24 Family Planning Perspectives 196 (1992).


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           Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 5 of 32



physical abuse, being thrown out of the house, or being forced to have the baby; preservation of

the parent-child relationship; and shielding a fragile or overwhelmed parent from additional

stress.3

           16.   For example, one study by Stanley Henshaw and Kathryn Kost of more than

1,500 unmarried minors having an abortion found that 30% of minors who did not tell their

parents about their abortion decision had already experienced violence in their family, feared that

violence would occur, or were afraid of being forced to leave home.4 The study showed that the

some of the most common reasons for not telling a parent included fear that the parent would be

disappointed or angry; concern that the parent was already under too much family, work,

financial, or health-related stress; fear about pressure to leave home; other punishment; being

beaten; or being forced to either continue the pregnancy or to have an abortion.5

           17.   Moreover, the minors in that study who did not tell their parents, but whose

parents found out anyway, were more likely than those who told their parents to say that there

had been physical violence between themselves and their parents, or that they were concerned

that there might be such violence.6 The authors concluded that their data “suggest that informing

parents of a daughter’s pregnancy would produce negative reactions in some families,” noting

that “[a]mong minors whose parents found out about the pregnancy, 58% reported one or more

adverse results of parental knowledge,” with a minimum of 6% of these minors experiencing

“physical violence in the home, being beaten, being forced to leave home or having the health of

3
  See, e.g., Committee on Adolescence, American Academy of Pediatrics, The Adolescent’s Right to Confidential
Care When Considering Abortion (2017), https://pediatrics.aappublications.org/content/139/2/e20163861; Erin K.
Kavanagh, et. al., Abortion-Seeking Minors’ Views on the Illinois Parental Notification Law: A Qualitative Study,
44 Perspectives on Sexual and Reproductive Health 159 (2012); Mary S. Griffin-Carlson and Kathleen J. Mackin,
Parental Consent: Factors Influencing Adolescent Disclosure Regarding Abortion, 28 Adolescence 109 (1993);
Henshaw and Kost, supra note 2; Hyman Rodman, Should Parental Involvement Be Required for Minors’
Abortions?, 40 Family Relations 155 (1991).
4
  Henshaw and Kost, supra note 2.
5
  Id.
6
  Id.


                                                        4
          Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 6 of 32



their parents affected,” and with 10% of the minors reporting that knowledge of their pregnancy

“caused problems between their parents or between a parent and a stepparent.”7

          18.   These findings accord with my over thirty years of professional experience

working with minors seeking access to abortion and my own published research on the topic.

The teens that I have represented and interviewed over the years were very clear as to why they

could not confide in their parents. Many had experienced harsh treatment at the hands of one or

both parents and feared that disclosure of their abortion decision would result in further abuse,

being thrown out of the house, or being forced to carry the pregnancy to term.

          19.   Others feared that their parents would be deeply disappointed in them or never

trust them again, citing their fear of irreparably damaging the relationships they had with one or

both parents as the basis for their non-disclosure. Virtually all of the young women in my study

who gave this as a reason had a relatively good relationship with one or both parents. Although,

at first blush, this may seem paradoxical, these young women were unwilling to risk destroying

an important relationship by disclosing information that they anticipated would result in extreme

disappointment, a loss of respect, and/or the erosion of trust. Critically in this regard, these fears

were typically rooted in a history of parental silence or negative remarks about sex, which led

these teens to believe that their parents would be shocked and disapproving upon learning their

daughter was sexually active.

          20.   Still other minors worried that the stress of disclosure would be too much for their

parents to handle, given their knowledge of the existing financial, physical, social, or

psychological burdens their parents were carrying, and thus chose not to disclose their situation

to their parents in order to protect them from this undue stress.

          21.   Despite a common perception that most young women would seek to avoid
7
    Id.


                                                  5
        Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 7 of 32



informing their parents about their intended abortion based on the ungrounded assumption that

they would “freak out,” both my experience and the research demonstrates that minors’ concerns

about disclosure are deeply rooted in the complex realities of their lives.8

         22.      None of the teens I have worked with or interviewed over the years made the

decision to seek judicial authorization for an abortion rather than involve a parent lightly; to the

contrary, the fact that they chose to submit themselves to a judicial process that they consistently

describe as “terrifying,” “intimidating,” and “nerve-wracking,”9 rather than notify their parents,

speaks volumes to the clarity and strength of their convictions regarding the adverse impact of

parental disclosure. Reflecting the gravity of their decision-making process, rather than lumping

their parents together as an indistinguishable unit—as we might blithely assume teens are likely

to do—these young women regarded their parents as separate and distinct individuals.

Accordingly, they made fine-tuned assessments of the likely reaction of each parent based upon

the applicable history and dynamic of their relationship with that parent. In short, in assessing

their parents’ potential reaction to the news that they were pregnant and intending to seek an

abortion, these teens drew upon long-standing patterns of parental mistreatment and parental

behaviors to conclude that the risk of disclosure was too great,10 and their explanations reflected

a nuanced assessment of the risks of disclosure within the intimate context of their individualized

family history.

         23.      My personal experience, my research, and the literature also make clear that

8
  J. Shoshanna Ehrlich, Who Decides? The Abortion Rights of Teens, 130-34 (2006); see also Henshaw and Kost,
supra note 2.
9
  Ehrlich, supra note 8 (one teen stated that she was so frightened by the court process that she forgot the answers to
some of the simple questions she was asked); see also, Carol Sanger, Decisional Dignity, Teenage Abortion, Bypass
Hearings, and the Misuse of Law, 18 Colum. J. Gender & L. 409 (2009).
10
   Equally telling, none of the teens in my study who described their relationship with their parents as being good
identified fear of a parent’s reaction as a reason for non-disclosure. In short, this was not a concern for those teens
who enjoyed a more stable relationship with one or both parents. Again, this highlights the carefully calibrated
assessments that these young women made as to the precise nature of the risks that disclosure entailed in light of
their own personal family histories.


                                                           6
          Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 8 of 32



young women’s assessments of the risk of disclosure are often not off-base. Indeed, the

Committee on Adolescence of the American of Pediatrics has concluded that “[a]dolescents who

are strongly opposed to informing parents about their intent to have an abortion tend to predict

family reactions accurately.”11 This highlights the critical importance of listening to and

respecting the individual assessments that young women make regarding the potential risks of

parental disclosure.

           24.     An example may be illustrative. Mary Souza is one of the teens I interviewed

who could not disclose her pregnancy and abortion plans to her father due to her fear of his

reaction.12 Mary’s parents had recently divorced, and she was living with her father as her

mother had moved to a new community. However, their relationship had quickly deteriorated. It

was punctuated by extremely angry and bitter arguments during which her father would spit at

her. He also had engaged in abusive behavior of a far more serious nature, and she was growing

increasingly afraid of him.

           25.     In addition to fearing for her physical safety, Mary was scared that her father

would retaliate by labelling her a whore and taking out a delinquency petition in the local

juvenile court. This was far from an idle threat, as this had been his response when he had found

out that she had been sexually active with a prior boyfriend. Making this threat even more real,

he had also filed a subsequent delinquency petition in his fury following a particularly heated

fight.

           26.     As with the other teens in my study, Mary’s statement that her dad would “flip

out” if she told him about her pregnancy and abortion plans was well-grounded in a tumultuous

history. It is worth stressing that no teen that I interviewed cited fear of a parent as the reason for


11
     Committee on Adolescence, American Academy of Pediatrics, supra note 3.
12
     The names used here are pseudonyms which were chosen by the young women.


                                                       7
       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 9 of 32



non-disclosure without providing details that supported their assessment of the risk.

       27.     Given Mary’s fear of her father, it is worth considering why she did not instead

confide in her mother. Illustrative of the above-discussed finding from my study that young

women carefully distinguished between their parents when considering the likely impact of

disclosure, fear was not a consideration vis a vis her mother. As Mary explained, her mother was

her closest friend, and she was planning to go live with her once the school year ended as the

situation at her dad’s home had become untenable. However, she was worried that her mother

would think less of her for getting pregnant, and possibly not allow her to come live with her—a

risk that she was unwilling to take given her current living situation. Compounding this concern,

she was aware that her mother had been under terrible stress since the divorce, and she worried

that news of her pregnancy might be too much for her to handle.

       28.     Mary’s situation starkly illustrates the potentially devastating risks of compelled

government disclosure. First and foremost, forced notification of Mary’s father would have put

Mary at risk of imminent physical danger and being dragged into juvenile court by her abusive

father with whom she lived. There is clearly no gain that would be realized from informing such

a parent about his daughter’s pregnancy and abortion plans. Nothing in their history suggests

that he would be a source of comfort or support, but rather suggests only the opposite.

Additionally, forced disclosure might well have damaged Mary’s relationship with her mother,

thus costing her a safe living space—a result that Mary was unwilling to gamble on given her

desperate need to escape from her current unsafe living situation.

       29.     The case of another minor, Beth, is also illustrative. As Beth explained when

considering whether or not to share her abortion decision with her father: “I don’t know how he

would have handled it. He’s a manic-depressive. He’s an alcoholic, and…right around the




                                                 8
       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 10 of 32



spring [the time of her pregnancy], it’s his time to try and commit suicide, and…I didn’t want to

add to any of his problems.”13 Again, we see here the careful attention to the detailed nature of a

parent’s life situation. Not only is Beth aware of her father’s drinking and mental health issues,

she is attuned to the cyclical nature of his despair. Thus, it is possible, that had she been faced

with the abortion decision in the fall, Beth might have opted to confide in her father when he was

less prone to suicide attempts.

Prominent Medical Professional Organizations Oppose Mandatory Disclosure

        30.      Proponents of parental notification mandates assert that this policy approach

serves to enhance family communication and strengthen the parent-child bond. However, this

view has been soundly repudiated by medical and health professionals who work with

adolescents and their parents. To this end, although agreeing that teens should be encouraged to

involve their parents, the American Medical Association, the Society for Adolescent Health and

Medicine, the American Public Health Association, and other health professional organizations

have reached a consensus that a minor should not be compelled or required to involve her parents

in her decision to obtain an abortion.14

        31.      For example, in their policy statement on the issue, the Committee on

Adolescence of the American Academy of Pediatrics (AAP) recognizes that “[i]nvoluntary

parental notification can precipitate a family crisis,” and that in addition to being met by

violence, disclosure may irreparably damage the parent-child bond, including actual rejection.15

Succinctly encapsulating these harms, Professor Hyman Rodman, “one of the country’s top 30




13
   Ehrlich, supra note 8 at 122.
14
   Committee on Adolescence, American Academy of Pediatrics, supra note 3 (citations to the policy statements of
these organizations are provided at notes 7-13.)
15
   Id.


                                                        9
       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 11 of 32



scholars in the field of family science,”16 writes that “when communication is forced it is more

likely to be hostile and nonsupportive…if the line is blocked, attempts to force it open risk

rupturing the line altogether…and…may shatter rather than shore up the family.”17 Accordingly,

the AAP has concluded that “mandating parental involvement does not achieve the intended

benefit of promoting family communication but does increase the risk of harm to the adolescent

by delaying access to appropriate medical care or increasing the rate of unwanted births.”18

        32.      The American Medical Association’s (AMA) Medical Ethics Opinions on the

provision of health care for minors also makes clear that when minors request that their abortion

decisions be kept confidential, physicians should “[n]ot feel or be compelled to require a minor

patient to involve her parents before she decides whether to undergo an abortion.”19 As the

AMA explains, “[t]he patient, even an adolescent, generally must decide whether, on balance,

parental involvement is advisable. Accordingly, minors should ultimately be allowed to decide

whether parental involvement is appropriate.”20

        33.      Similarly, the American Public Health Association (APHA) and the American

Academy of Family Physicians (AAFP) have both issued policy statements regarding the

importance of respecting adolescent patients’ requests for confidentiality when providing health

care services. The APHA has explained that “[p]arental involvement [requirements] do not


16
   Retirement Dinner Today for 10 On UNCG Staff , News & Record, Apr. 30, 1996,
https://www.greensboro.com/retirement-dinner-today-for-on-uncg-staff/article_98f47983-7d69-5323-92d6-
f172fe9a5f34 html (noting the National Council on Family Relations has named Rodman as one of the country’s top
30 scholars in the field of family science).
17
   Rodman, supra note 3, at 157.
18
   Committee on Adolescence, American Academy of Pediatrics, supra note 3 at 1.
19
   AMA, Code of Medical Ethics Opinion 2.2.3, Mandatory Parental Consent to Abortion, https://www.ama-
assn.org/delivering-care/ethics/mandatory-parental-consent-abortion; see also AMA, Code of Medical Ethics
Opinion 2.2.2, Confidential Health Care for Minors, https://www.ama-assn.org/delivering-care/ethics/confidential-
health-care-minors.
20
   AMA Council on Ethical and Judicial Affairs, AMA Code of Medical Ethics’ Opinions on Confidential Care for
Sexually Active Minors and Physicians’ Exercise of Conscience in Refusal of Services, Opinion 2.015 – Mandatory
Parental Consent to Abortion, https://journalofethics.ama-assn.org/article/ama-code-medical-ethics-opinions-
confidential-care-sexually-active-minors-and-physicians-exercise/2012-02.


                                                       10
       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 12 of 32



promote family communication as intended, and can elevate pregnant minors’ risks by delaying

access to care,” and create “[o]ther negative consequences,” including, among other things,

“parentally coerced termination of pregnancy, physical violence between the parents or against

the pregnant minor, the pregnant minor being forced to leave the home, damage to the parents’

health, the pregnant minor being delayed in informing her parents, negative experiences when

informing parents, the potential to aggravate family conflicts, and pregnant minors from

dysfunctional and nonsupportive families carrying unwanted pregnancies to term without

receiving adequate prenatal care.”21 Accordingly, the APHA urges that “minors’ access to

abortion services not be made conditional on parental involvement.”22 The AAFP notes in its

policy statement that “[c]oncerns about confidentiality may create barriers to open

communication between patient and physician and may thus discourage adolescents from

seeking necessary medical care and counseling,” and recommends that “[p]hysicians [] deliver

confidential health services in situations involving sexuality (including [STIs], contraception,

and pregnancy), substance use/abuse, and mental health to consenting adolescents.”23

Conclusion

        34.      In sum, it is my opinion, based on my decades of experience and the relevant

literature, that it is presumptuous of Defendants to assume that they know better than any

particular young woman herself whether disclosure of her pregnancy and/or abortion decision to

her parents or sponsor will result in harm, and that disclosure (with or without a young woman’s

consent) will necessarily advance her best interests.


21
   APHA, Policy No. 20115, Ensuring Minors’ Access to Confidential Abortion Services (Nov. 1 2011),
https://www.apha.org/policies-and-advocacy/public-health-policy-statements/policy-
database/2014/07/03/11/14/ensuring-minors-access-to-confidential-abortion-services (citations omitted).
22
   Id.
23
   AAFP, Adolescent Health Care, Confidentiality, https://www.aafp.org/about/policies/all/adolescent-
confidentiality.html; see also AAFP, Adolescent Health Care, Sexuality and Contraception,
https://www.aafp.org/about/policies/all/adolescent-sexuality.html.


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      Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 13 of 32



       35.     While, at first blush, one might assume that the above-discussed reasons given by

teens for not disclosing their intended abortion to a parent are not relevant in the present context

given the geographical distance between parent and child, it is important to recognize that they

remain highly salient. Notably, I understand that some young women flee to the United States

because they have suffered abuse at the hands of their parents. If these young women are

ultimately sent back to their home countries, they may well be at risk of parental abuse or

rejection. There is nothing to suggest that a lapse of time will ameliorate these risks. Moreover,

if notice is given to a prospective sponsor, who is most likely to be a family member, a young

woman may again be at risk of abuse or rejection at the hands of this party.

       36.      I also understand that the parents to whom these forced disclosures are being

made may be subject to the same dangers, threats of violence, and/or grinding poverty that

compelled their daughter to flee to the United States in the first place. As mentioned above, one

of the reasons minors choose not to disclose their pregnancies and abortion decisions to their

parents is their concern that doing so will exacerbate existing parental stress. Given

unaccompanied minors’ knowledge of the often difficult circumstances they left behind in their

home countries, it would not be surprising if a minor was justifiably concerned that informing

her parents would only exacerbate the tremendous stress that her parents experience on a daily

basis and cause them further harm.

       37.     Plaintiff Jane Poe’s case makes absolutely clear that the risks of mandated

disclosure are not attenuated by a minor’s immigration status. As detailed in Plaintiffs’ brief,

when Ms. Poe was forced by the Defendants to disclose her intended abortion to her mother and

sponsor, she was threatened with physical harm. Although her mother was not immediately

placed to do so, if Ms. Poe returned home, she could have made good on this threat. Clearly, the




                                                 12
      Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 14 of 32



sponsor was in a position to make good on this threat; accordingly, I understand that he did not

end up serving as Ms. Poe’s sponsor.

       38.     For all of the foregoing reasons, it is my expert opinion that Defendants’

mandatory disclosure policy is in direct conflict with the needs and interests of unaccompanied

young women in the care and custody of the Office of Refugee Resettlement and threatens them

with harm. Teens are far better situated than are Defendants to assess the likely outcome of

disclosure based on the complex realities of their own lives. A mandatory disclosure policy is

impervious to the very real risks that disclosure may bring, thus putting a highly vulnerable

population in harm’s way, as was made plainly evident by the case of Plaintiff Jane Poe.




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Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 15 of 32
Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 16 of 32




                     Exhibit A
Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 17 of 32
       Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 18 of 32




1986-1996                     Adjunct Professor, Metropolitan College
                              Boston University

1990-1992                     Adjunct Professor, Paralegal Studies Program
                              Fisher College

1991                          Adjunct Professor, Paralegal Studies Program
                              Suffolk University

1988                          Huberman Teaching Fellow, Brandeis University

1986-1988                     Assistant Professor
                              Commonwealth School of Law

1985-1986          Clinical Instructor, Suffolk University School of Law
.
RESEARCH AND PROFESSIONAL ACTIVITY

Books

        Ehrlich, J.S, and Doan, A. (2019) Abortion Regret: The New Attack on Women’s
        Reproductive Freedom (Praeger)

        Ehrlich, J.S. (forthcoming) Family Law for Paralegals. (8th ed.) New York, NY: Aspen
        Publishers.

        Dontrelle, M. and Ehrlich J.S. (2016) Family Law Fundamentals. (Law School Edition)
        New York, N.Y.: Aspen Publishers.

        Ehrlich, J.S. (2015) Fundamentals of Family Law. New York, N.Y. Aspen Publishers.

        Ehrlich, J.S. (2014) Regulating Desire: From Virtuous Maiden to the Purity Princess.
        Albany, NY: SUNY Press.

        Ehrlich, J.S. (2006) Who Decides? The Abortion Rights of Teens. Westport, CT:
        Greenwood/Prager.

Journal Articles

        Ehrlich, J.S. (2018) “Like a Withered Tree, Stripped of its Foliage:” What the Roe Court
        Missed and Why it Matters, Columbia Journal Gender and Law.

        Ehrlich, J.S. (2017) Ministering (In)Justice: The Supreme Court’s Misreliance on
        Abortion Regret in Car hart v. Gonzales, Nevada Law Journal, 17: 599-617.

        Ehrlich, J.S. (2014) Turning Women into Girls: Abortion Regret and the Erosion of
        Decisional Autonomy, Women’s Rights Law Reporter, 35:329-356.

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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 19 of 32


      Ehrlich, J.S. (2013) From Birth Control to Sex Control: Unruly Young Women and the
      Origins of the National Abstinence-Only Mandate, Canadian Bulletin of Medical History
      30: 77-99.

      Ehrlich, J.S. (2009) You Can Steal Her Virginity But Not Her Doll: The Nineteenth
      Century Campaign to Raise the Legal Age of Sexual Consent, Cardozo Journal of
      Gender & Law 15: 229-246.

      Ehrlich, J.S. (2006) From the Age of Consent Laws to the “Silver Ring Thing:” The
      Regulation of Adolescent Female Sexuality, Health Matrix 16:151-181.

      Ehrlich, J.S. (2003) Choosing Abortion: Teens Who Make the Decision without Parental
      Involvement, Gender Issues, 21:3-39.

      Ehrlich, J.S. (2003) Shifting Boundaries: Abortion, Criminal Culpability and the
      Indeterminate Legal Status of Adolescents, Wisconsin Women’s Law Journal, 18:77-116.

      Ehrlich, J.S. (2003) Grounded in the Reality of Their Lives: Listening to Teens Who
      Make the Abortion Decision without Involving Their Parents, Berkeley Women’s Law
      Journal, 18:61-180.

      Ehrlich, J.S. (2000) Minors as Medical Decision-Makers: The Perpetual Reasoning of the
      Court in the Abortion Cases, Michigan Journal of Gender & Law, 7:66-106.

      Ehrlich, J.S. (2000) Co-Parent Visitation: Acknowledging the Reality of Two Mother
      Families, Tulane Journal of Law and Sexuality, 9:151-162.

      Ehrlich, J.S. (2000) The Abortion Decision: Seeking Decisional Equity for Young
      Women or Why Ear Piercing is a False Analogy, Massachusetts School of Law Review
      1:26-33.

      Ehrlich, J.S. (1998) Journey through the Courts: Minors, Abortion and the Quest for
      Reproductive Fairness, Yale Journal of Law and Feminism, 10:1-27.

      Ehrlich, J.S. & Sabino, J. (1991) A Minor's Right to Abortion: The Unconstitutionality of
      Parental Participation in Bypass Hearings, New England Law Review, 25: 1185-1209.

Peer Reviewed Book Chapters and Essays

      Ehrlich, J.S. (2019) Differential Breast Exposure Rules: Encoding the (Heterosexual) Male Gaze
      into Law. In Embodied Resistance, Vol. 2. Chris Bobel & Samantha Kwan (eds) Vanderbilt
      University Press.

      Ehrlich, J.S., Brown, L. & Macquarie, C., (2017) Subverting the Constitution: Anti-
      Abortion Policies and Politics in the United States and Canada. In 25 Years After
      Morgentaler. Tracy Pinner Light & Shannon Stetter (eds), University of British
      Columbia Press.



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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 20 of 32


      Ehrlich, J.S. & Doan, A., (2016) Teaching Morality by Teaching Science: Religiosity
      and Abortion Regret. In Reproductive Ethics: New Challenges and Conversations. Lisa
      Campo-Engelstein & Paul Campos (eds) Springer Press.

      Ehrlich, J. S. (2013) A Wellspring of Contamination: The Trangressive Body of the
      Prostitute in 19th Century Medical Discourse. In The Female of the Species: Cultural
      Constructions of Evil, Women and the Feminine. Hannah Priest (ed) Inter-Disciplinary
      Press.

      Ehrlich, J.S. (2013) From Roe to Casey: The Creeping Pro-natalism of the Supreme Court’s
      Abortion Jurisprudence. In Issues: Understanding Controversy and Society. ABC-CLIO.

Non-Peer Reviewed Book Chapters and Essays

      Ehrlich, J.S. (2016) An Analysis of Differential Breast Exposure Rules Under the Equal
      Protection Clause. Expert Report Prepared for the American Civil Liberties Union of Missouri.

      Ehrlich, J.S. (2013) Protecting a Woman’s Right to Abortion. In Issues: Understanding
      Controversy and Society. Santa Barbara, CA: ABC-CLIO, (5 pages).

      Ehrlich, J S. (2012) Abortion: A Fragile Right. In Skirting the Boundaries: The Unfinished Story
      of Women Judges and Lawyers in Massachusetts. Boston, MA: Massachusetts Continuing Legal
      Education, 248-256.

      Ehrlich, J.S. (co-authored) (2012) “A Burdened Right: The Massachusetts Abortion
      Consent Law,” in Skirting the Boundaries: The Unfinished Story of Women Judges and Lawyers
      in Massachusetts. Boston, MA: Massachusetts Continuing Legal Education, 257-264.

      Ehrlich, J.S. (2009) Abortion: Legal and Public Policy Perspectives. In Richard A.
      Shweder (ed.), The Child: An Encyclopedic Companion, Chicago, IL: University of
      Chicago Press, 5-8.

      Ehrlich, J.S. (2002) Deciding Not to Tell: Minors, Parents and the Right to Abortion. In
      Judith Bahr (Ed.), Historical and Multicultural Encyclopedia of Women's Reproductive
      Rights in the United States, Westport, CT: Greenwood Press, 3-6.

      Ehrlich, J.S. (1999) Adoption and Foster Parenting. In Reader's Guide to Lesbian and
      Gay Studies, Chicago, IL: Fitzroy Dearborn Publishers, 6-7.

      Ehrlich, J.S. (1999) Co-Parent Visitation: Acknowledging the Reality of Two Mother
      Families -- E.N.O v. L.M.M., Women’s Bar Association Law Journal, 1V: 1-5. (Feature
      article).

      Ehrlich, J.S. (1998) Of Contract Born, But Not Determined: The Uncertain Future of
      Surrogate Motherhood in Massachusetts after R.R. v. M.H., Women’s Bar Association
      Law Journal, II: 1-3.




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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 21 of 32




Published Book Review

      Ehrlich, J.S. (2004) The American Woman, 2003-2004: Daughters of a Revolution,
      Young Women Today. Cynthia B. Costello, Vanessa R. Wight, Anne J. Stone (eds),
      Journal of Youth. 81:31-33.

Conference Presentations

      “Like a Withered Tree Stripped of its Branches:” What the Roe Court Missed and Why It
      Matters.” (November, 2017). International Conference on Interdisciplinary Legal
      Studies. Harvard University, Boston, Massachusetts.

      “From God to the Supreme Court: The Religious Underpinnings of the Abortion Regret
      Narrative.” (Member of a “lightening” panel. June, 2017) Berkshire Conference on the
      History of Women. Hempstead, New York

      “Freeing the Nipple: Equality Challenges to Differential Breast Exposure Laws.” (April,
      2017) Reproductive Ethics: New Challenges and Conversations. Albany Medical
      College. Albany, New York

      “Ministering (In)justice: The Supreme Court’s Misreliance on Abortion Regret.” (March,
      2017) UMass Interdisciplinary Legal Studies Colloquium. Boston, Massachusetts.

      “Ministering (In)Justice: The Supreme Court’s Misreliance on Abortion Regret in
      Gonzales v. Carhart.” (October, 2016). The Feminist Judgments Conference. The Center
      for Constitutional Law - The University of Akron School of Law. Akron, Ohio.

      “The Religious Underpinnings of Abortion Regret.” (Co-presenter. June, 2016) Abortion
      and Reproductive Justice: The Unfinished Revolution II. Belfast, Ireland.

      “Teaching Morality by Teaching Science:” Religiosity and Abortion Regret.” (April,
      2016) Reproductive Ethics: New Challenges and Conversations. Albany Medical
      College. Albany, New York.

      “Abortion Regret and the Erosion of Decisional Autonomy.” (August, 2014) Abortion
      The Unfinished Revolution. University of Prince Edward Island, CA.

      “Turning Women into Girls: Abortion Regret and the Erosion of Decision Autonomy.
      (October, 2013) Beyond Roe: Reproductive Justice in a Changing World. Rutgers Law
      School. Camden, New Jersey

      “Relegated to the Constitutional Realm of Adolescence.” (June, 2014). IX World
      Congress of Constitutional Law. Oslo, Norway.

      “Subverting the Constitution: Abortion Politics and Policies in the United States and
      Canada.” (Co-presenter. August, 2013) Canadian Society for the History of Medicine
      Annual Conference. Victoria, British Columbia.

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Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 22 of 32


“From Birth Control to Self-Control: The Shifting Congressional Response to Young
Women’s Sexuality in the United States, 1970-1982.” (April, 2013) History of Women’s
Health Conference. Philadelphia, Pennsylvania.

“From Birth Control to Sex Control: Unruly Young Women and the Origins of the
National Abstinence-Only Mandate.” (June, 2012) Canadian Society for History of
Medicine Annual Conference. Waterloo, Ontario.

“From Having Babies to Having Sex: The Conservative Attack on Title X.” (June, 2011)
Berkshire Conference on the History of Women. Amherst, Massachusetts.

“A Wellspring of Contamination: The Transgressive Body of the Prostitute in 19th
Century Medical Discourse.” (May, 2011) Interdisciplinary Network Conference on Evil,
Women & the Feminine. Warsaw Poland.

“The American Social Purity Movement’s Campaign to Raise the Age of Sexual Consent
in the United States.” (July, 2009) West of England and South Wales Women’s History
Conference. Bristol, Wales.

“Consent, Confidentiality and Mature Minors.” (September, 2008) Sexual Health Matters
Conference. Boston, Massachusetts.

“Abortion: The Constitutional Framework.” (January, 2006) Symposium on “Women
Behind Bars: Issues Confronting Incarcerated Women. Boston, Massachusetts.

“Understanding the Relationship between Title X Confidentiality Requirements and State
Reporting Laws.” (May, 2004) JSI 25th Annual Reproductive Health Conference. Boston,
Massachusetts.

“Engaging Students in the Learning Process.” (Co-Presenter. May, 2004) Center for the
Improvement of Teaching: Annual Conference on Teaching for Transformation. Boston,
Massachusetts

“Confidentiality and State Reporting Law: Focus on New England.” (2003)
JSI 24th Annual Reproductive Health Conference. Portsmouth, New Hampshire.

“The Legal Rights of Teen Girls.” (2003) G.I.RL.S, Inc. Conference. Boston,
Massachusetts.

“The Legal Rights of Teens in Reproductive Health Settings.” (2002) JSI 23rdAnnual
Reproductive Health Conference. Portsmouth, New Hampshire.

“Grounded in the Reality of Their Lives: Listening To Teens Who Make The Abortion
Decision Without Involving Their Parents.” (August, 2002) Annual Conference of the
American Political Association. Boston, Massachusetts. (Paper selected for the Best
Paper Award by the Women and Politics Section.)

“The Impact of Parental Involvement Laws on Teens Seeking Abortion.” (2002) Annual
Conference of the National Network of Abortion Funds. Hartford, Connecticut.

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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 23 of 32


      “Writing Across the Curriculum.” (Co-Presenter. May, 2002) Center for the Improvement
      of Teaching: Annual Conference on Teaching for Transformation. Boston,
      Massachusetts.

      “Young Women and Abortion: Confronting the Reality of Parental Involvement Laws.”
      (November, 2000) Annual Conference of the National Women's Studies Association.
      Boston, Massachusetts.

      “Working with Young Teens: Required Confidentiality vs. Mandated Reporting.”
      (March, 1998) Sexuality Education Conference. Newton, Massachusetts.

      “The Legal History of Abortion.” (1996) University of Massachusetts Reproductive
      Rights Conference. Boston, Massachusetts.

      “The Abortion Rights of Minors.” (1991) Brandeis University Abortion Rights
      Conference. Waltham, Massachusetts.

Invited Lectures/Talks

      (Re)producing the Maternal Ideal: Abortion Laws and the Romancing of Motherhood.
      (March 2018). Conceiving Equity: A Reproductive Justice Summit – 6th Annual Roe v.
      Wade Lecture. Tulane University. New Orleans, Louisiana.

      “Gender and Marriage Equality in the United States.” (December, 2017). International
      Conference on Interdisciplinary Gulf Studies Conference. Qatar University. Doha, Qatar.

      “Disrupting the Gendered Order of Creation: Religiosity and Abortion Regret.” (March,
      2017) No Turning Back: The Past, Present, and Future of Reproductive Justice.
      Northeastern University. Boston Massachusetts.

      “The Emergence of the Woman-Protective Anti-Abortion Narrative.” (May, 2015)
      Brigham and Women’s Hospital Family Planning Seminar Series. Boston,
      Massachusetts.

      “Turning to the Courts: Pregnant Teens and the Massachusetts Judicial Bypass Law.”
      (Guest Lecturer. March, 2014) University of Massachusetts Boston. Boston,
      Massachusetts.

      “The Rise of Gender Paternalistic Anti-Abortion Rhetoric.” (April, 2013) Boston
      University School of Law. Boston, Massachusetts.

      “Evolution of Marriage Equality in the United States.” (Keynote Address. January, 2012)
      High Court of Madras. Chennai, India.

      “Marriage Equality Rights in the United States.” (January, 2012) NALSAR University of
      Law. Hyderabad, India.

      “Legal Protections for Victims of Domestic Violence in the United States.” (Keynote
      Speaker. January, 2012) International Symposium: Indo-American Perspectives on
      Women. Madurai, India.
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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 24 of 32



      “Domestic Violence Law in the United States: History, Reform, and Challenges.”
      (Keynote Address. January, 2012) Women, Society and Law in the New Millennium: An
      International Dialogue. Chennai, India.

      “Development of Domestic Violence Policies in the United States.” (January, 2012).
      Women and Violence: The American and the Indian Scenario. Hyderabad, India.

       “Abortion Regret.” (March, 2011) Beyond "Killing Babies:" The Impact of the New Anti-
      Abortion Rhetoric on Women's Rights. Conference for invited activists and scholars, co-
      sponsored by the Civil Liberties of Massachusetts, Mass NARAL and the UMB Women’s and
      Gender Studies Department. Boston, Massachusetts.

      “From Pro-Fetus to Pro-Woman: The Shifting Nature of Anti-Abortion Rhetoric.” (2010)
      Harvard University School of Law. Cambridge, Massachusetts.

      “A Noxious Site of Contamination or the Victim of Lust? The Nineteenth Century
      Debate over the Legalization of Prostitution.” (2010) Science and Society Speaker Series.
      University of Massachusetts Boston. Boston, Massachusetts.

      “Making the Abortion Decision without Parental Consent: Listening to Young Women.”
      (Keynote Speaker. December, 2008) Judicial Bypass Advisory Conference. Washington,
      D.C.

      “The Abortion Rights of Minors.” (April, 2007) Harvard University School of Law.
      Cambridge, Massachusetts.

      “Prostitution: The Legal Construction of Choice.” (Guest Lecturer. July, 2005) Boston
      University. Boston, Massachusetts.

      “Women in the Military.” (Guest Lecturer. July, 2003) Boston University. Boston,
      Massachusetts.

      “Minors who Make the Abortion Decision without Parental Involvement: Key Findings
      from the Minors’ Abortion Rights Project.” (2001) Annual Board of Overseers’ Meeting
      of the Planned Parenthood League of Massachusetts. Boston, Massachusetts.

      “Redefining the Family: Legal Norms.” (2000) Colloquium on the Ethics of Adoption:
      University of Massachusetts Boston. Boston, Massachusetts.

      “To Tell Parents or Not: Minors, Abortion and the Right of Reproductive Privacy.”
      (November, 2000) Women’s Research Forum: University of Massachusetts Boston.
      Boston, Massachusetts.

Professional Trainings/Workshops

      “Transnational Feminisms.” (2012) Taught certificate course for undergraduates at St.
      Ann’s College for Women. Hyderabad, India.


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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 25 of 32


      “Consent and Confidentiality: Adolescents and Reproductive Decision Making.” (2009)
      Delivered workshop to school professionals and family planning providers. Brockton,
      Massachusetts.

      “Representing Minors in Judicial Bypass Hearings.” (2006) Trained attorneys and health
      care providers. Salt Lake City, Utah.

      “Representing Minors in Judicial Bypass Hearings.” (2005) Trained attorneys and health
      care providers. Kansas City, Missouri.

      “Counseling Adolescents: Confidentiality and Legal Issues.” (2003) Delivered workshop
      to health care providers for ABCD Health Services/Boston Family Planning and JSI
      Research & Training Institute. Peabody, Massachusetts.

      "Legal Rights of Adolescents in Reproductive Health Settings." (2002) Delivered
      workshop to health care providers for ABCD Health Services/Boston Family Planning
      and JSI Research & Training Institute. Boston, Massachusetts.

      “Working with Adolescents and Their Parents in Reproductive Health Settings:
      Counseling and Legal Issues.” (2001) Presenter at training sponsored by JSI Research &
      Training Institute. Boston, Massachusetts.

      “Legal Aspects of Adolescent Reproductive Health.” (2001) Presenter at the Adolescent
      Access Project: Train the Trainers Series, sponsored by ABCD/Boston Family Planning.
      Boston, Massachusetts.

      "Counseling Young Women to Resist Sexual Coercion." (2000). Presenter at training
      sponsored by JSI Research & Training Institute. Boston, Massachusetts.

      “Consent and Confidentiality in the Provision of Health Care to Adolescents.” (2000)
      Provided staff training at the South End Neighborhood Health Clinic. Boston,
      Massachusetts.

      “The Legal Rights of Teens in Reproductive Health Settings.” (1999) Professional
      Education Series at the Planned Parenthood League of Massachusetts. Boston,
      Massachusetts.

Training and Educational Manuals

      Ehrlich, J.S. (2010) Protection against Domestic Violence. The Study Guide for Family Affair. C-
      Line Films.

      Training Manual for Attorneys Representing Minors in Judicial Bypass Proceedings.
      (2007) Committee for Public Counsel Service. (Contributing author and editor).

      Representing Minors in Judicial Bypass Hearings in North Carolina: A Training Manual.
      (2002) (Co-authored with Jamie Ann Sabino in collaboration with American Civil
      Liberties Union Reproductive Freedom Project, with the assistance of the ACLU of
      North Carolina).

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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 26 of 32


         Ehrlich, J.S. Your Legal Rights: A Handbook for Teen Girls in Massachusetts. (2002).
         Boston: University of Massachusetts Publications.

Grants

         The Teen Girls Legal Rights Project. (2000) Funding received from the Planned
         Parenthood League of Massachusetts for the publication of Your Legal Rights: A
         Handbook for Teen Girls in Massachusetts.

         Minors’ Abortion Rights: Adult Involvement and Access Project. (1997) Grant awarded
         by the David and Lucille Packard and the Robert Sterling Clark Foundations for an in-
         depth study of the experience of young women who make the abortion decision without
         parental involvement.

SERVICE

Service to the Women’s, Gender, and Sexualities Studies Department

         Commentator on the film “Trapped,” shown as part of the Women Take the Reel film
         Series (March 2018).

         Chair of Promotion Committee (present).

         Member of the DPC (2008 to present).

         Member of the Sexuality Studies Committee (2006-2008 and 2012-present).

         Member of REAB/Shared Governance Committee (Spring 2016)

         Chair of the Department Personnel Committee (2012-2013 and Fall 2016).

         Department Chair (2010-2012).

         Co-Chair of the Founder’s Award Committee (Spring 2011, 2012, 2014 & 2016).

         Acting Chair (Spring Semester, 2010).

         Member of two Fourth Year Review and Three Tenure Promotion Committees (2006-
         2011).

         Member of Women’s Studies Advisory Board (1999-2008).

Service to the College of Public and Community Service

         Member of the Personnel Board (2005-2008).

         Member of the Constitutional Review Committee (2006-2007).

         Curricular consultant to the Philosophy and Law Program (2006-2007).

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      Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 27 of 32


       Member of the Curriculum Council (1999 – 2005).

       Chair of the First Year Initiative Committee (1997- 1998).

Service to the College of Liberal Arts

       Member of an Ad Hoc Promotion Committee in the Music Department (2016-2017)

       Member of the College Personnel Committee (20015-2016).

       Member of an Ad Hoc Tenure Committee in the Communications Department (2015-
       2016).

       Member of an Ad Hoc Tenure Committee in the American Studies Department (2014).

       Member of the Hiring Committee for the position of Associate Director for the
       Consortium on Gender, Security and Human Rights (2013 and 2014).

       Member of an Ad Hoc Fourth Year Review Committee in the American Studies
       Department (2012).

       Member of a Committee charged with exploring the possibility of developing a
       Community Engagement Program of Study (2009-2010).

       Participated in the planning of the CLA first year initiative, including assisting with the
       process of hiring the CLA First Student Advisor (2009-2010).

       Member of the Faculty Senate (2008-2009).

Service to the University

       Member of the Constitution Committee of the Faculty Council (Spring 2018)

       Organized two panel discussions on reproductive justice bringing prominent
       activists/authors to campus (Fall 2017-Spring 2018).

       Member of the Legal Studies Committee (Fall 2016 - present).

       Organized a student panel as part of the Not My Normal: Intensive Teach-In (Spring
       2017)

       Gave a talk on recent attacks on abortion access as part of the Not My Normal: Intensive
       Teach-In (Spring 2017).

       Member of an Ad Hoc Tenure Committee in the School of Global Inclusion and Social
       Development (Fall 2016).

       Invited speaker at a CIT workshop for senior faculty on work-family balance issues
       (March, 2016).

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     Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 28 of 32


      Elected Representative to the Faculty Council (2010-2014).

      Member of the Law School 3+3 Initiative Committee (2014-2015).

      Faculty Leader on a Beacon Voyager Service Learning Trip to Guatemala (Spring Break,
      2014).

      Member of the University Grievance Committee, including service in 2012 and 2017 as
      the Chair of a disciplinary panel (2006-present).

      Organized a forum on the feminist movement in India by two visiting faculty members
      from St. Anne’s College for Women in Hyderabad, India (2013).

      Organized a panel discussion on the marriage rights of same-sex partners featuring the
      Legal Director of GLAD and the Executive Director of Lambda Legal (2012).

      Co-Organized a showing of the film The Help, and was one of the faculty discussants
      (2011).

      Invited Speaker on abortion at the Women’s Rights Speak Out organized by UMass
      Students (2011).

      Member of the Transfer Student Retention Sub-Committee of the Retention and
      Graduation Rates Committee (2010-2011).

      Invited Panelist to speak about the film Family Affair at its UMB debut (2010).

      Helped to grade Writing Proficiency Portfolios (2010).

      Member of an ad hoc committee that was charged with reviewing the University’s sexual
      harassment policy (2009-2010).

      Member of the Healey Grant Review Committee (2006-2007).

      Member of the General Education Writing Subcommittee (2006-2007).

      Member of the Center for Women in Politics & Public Policy Advisory Board (2001-
      2006).

      Member of the Selection Committee for the JFK Award (2006).

      Member of the General Education Steering Committee (1999-2006).

      Member of Sexual Harassment Board (1997- 1998).

Service to the Profession/Community

      Expert consultant to the Sex Education Bus Project in collaboration with Architexx and
      the Legal Skills in Social Context program at Northeastern University School of Law
      (2016-present),
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Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 29 of 32



Appointed to the Editorial Board of Signs (2016). Serve on the Special Editions
Subcommittee.

Member of the Steering Committee, Judicial Consent for Minors Lawyer Referral Panel.
In this capacity, help coordinate statewide panel of attorneys who represent minors
seeking court consent for abortions (1983-present).

Member of the 51A Working Group. Work with an ad hoc coalition of reproductive
health, civil liberties, and gay rights activists and professionals to protect the
confidentiality rights of sexually active minors under state law (1999-present).

Member of an ad hoc advisory group to the Civil Liberties Union of Massachusetts on
reproductive law and policy (2012 to present).
Peer Review of Journal Articles: Global Public Health (2017); Signs (2016 & 2018);
Laws (2016); Science and Collective Health Journal (2015); Social Science and Medicine
(2015); Research Institute of Asian Women (2013 & 2012); Journal of Women, Politics &
Policy (2012).

Peer reviewed a book manuscript on sex crimes for SUNY Press (2015),

Peer reviewed a book manuscript on adolescent sexuality for the University of Illinois
Press (2014).

Peer reviewed a book manuscript on abortion for McGill-Queens University Press
(2013).

Created a Family Law Module for the on-line Law Simulation Series being developed by
Wolters Kluwer’s Law & Business to provide students with a virtual office experience
(2013).

Peer reviewed a book manuscript on teen sexuality for the University of Illinois Press
(2013).

Peer reviewed a book proposal on teen sexuality for the University of Illinois Press
(2012).

Peer reviewed a chapter for an edited book on abortion in a global perspective (2012).
Served as a legal advisor to first year students at Northeastern University School of Law:
who were researching the rights of adolescents in reproductive health settings for the
Mass Alliance on Teen Pregnancy (2011-2012).




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Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 30 of 32


Provided expert testimony to the Massachusetts state legislature on a bill regarding the
abortion rights of teens (2012).

Provided trainings on judicial bypass laws and consulted on matters related to the
abortion rights of teens for the American Civil Liberties Union - Reproductive Freedom
Project (2000-2010).

Served as a judge for a regional moot court competition at Northeastern University
School of Law (2010).

Reviewed a grant application for a reproductive rights organization that was applying for
funds to train midwives in Uganda to assist women injured by illegal abortions (2010).

Trained volunteers on the legal rights of minors seeking court consent for an abortion for
the Eastern Massachusetts Abortion Fund (2008-2010).

Served as a moot court judge at Northeastern University School of Law. (2005-2008).

Volunteered with MassEquality in the marital equality campaign (2003-2006).

Adolescent Access Project, JSI Research & Training Institute: Consultant on legal rights
of teens (2002-2005).

Adolescent Access Project – ABCD/Boston Family Planning: Consultant on legal rights
of teens (2001-2003).

Provided legal research assistance for Gay and Lesbian Defenders (GLAD) in the
landmark marital rights case of Goodridge v. Department of Public Health (2002).

G.I.R.L.S T.V: Guest on local cable television show aimed at educating and empowering
young women (2002).

G.I.R.L.S. Project Roundtable: Featured speaker on the legal rights of teen girls (2001).

GLAD: Presented legislative testimony in opposition to the proposed state “mini-
DOMA” law (1999-2001).

Center for Reproductive Law and Policy: Invited participant in a daylong roundtable
discussion among national experts on minors' abortion issues (1999).

Founding member of the Town of Brookline’s Committee for Domestic Partnership
Benefits (1998).

Appointed member of the Town of Brookline’s Moderator's Committee for Domestic
Partnership Benefits (1997-1998).




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      Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 31 of 32


TEACHING AND ADVISING (CLA)

Courses

Global Bodies: Sex, Reproduction and Family in Transnational Perspective (WGS 286 – created
course)

Introduction to Women, Gender, and Sexualities in the United States (WGS 100)

Reproductive Rights and Wrongs (WGS 230 – created course)

The Legal Rights of Women (WGS 290 – created course)

Family Law (WGS 291 – created course)

Family Law Practice (WGS 292 – created course)

Recognition

Innovative Face-to-Face Teaching Award. University Conference on Teaching, Learning and
Technology (2016).

Invited to facilitate the Spring 2017 CIT Seminar for Post-Tenure Faculty.

Mentoring and Advising Activities

Fall 2017- Present: Chair of Jowal-Lisa Walden’s Women’s and Gender Studies senior honors
committee.

Fall 2017-Present: Member of Ashley Torres’ senior honors committee.

Spring 2017: Supervised research assistants Theresa Kelleher-Palmer and Destina Agar (Topic:
“pro-life” feminism. Paper accepted for presentation at the Massachusetts Statewide
Undergraduate Research Conference – April 2017).

Spring 2016 to present: Supervising research assistant Hui Chen (Topic: The Supreme Court’s
misuse of religious amicus curiae brief. Paper accepted for presentation at the Massachusetts
Statewide Undergraduate Research Conference – April 2017).

Fall 2016: Supervised teaching assistant Jowal-Lisa Walden.

Spring 2016 and Fall 2015: Supervised teaching assistant Anny Rodriguez.

Fall 2015-Spring 2016: Chair of Anny Rodriguez’ Women’s and Gender Studies senior honors
committee.

Fall 2015: Supervised teaching assistant Michelle Chouinard.



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      Case 1:17-cv-02122-TSC Document 144-3 Filed 08/08/19 Page 32 of 32


Fall 2015: Principle advisor for Mercedes Jackman’s honors thesis work in Women’s and
Gender Studies

Fall 2014: Supervised teaching assistants Jessica Manna and Anny Rodriguez.

Fall 2014: Supervised research assistants Hella Dijsselbloem and Gabby Fiore (Topic: the “pro-
woman/pro-life” antiabortion movement).

Fall 2013: Supervised teaching assistant Cheyanne Gracia.

Summer 2013: Supervised research assistant Cheyanne Gracia (Topic: gender norms and
abolitionism).

Summer 2013: Supervised research assistant Jess Guerrier (Topic: legal regulation of adolescent
sexuality).

Summer 2012: Supervised research assistant Stephanie Boniest (Topic: transsexual marriage
cases).

Fall 2011: Supervised research assistant Sara Dragan (Topic: purity balls and virginity pledges).

Fall 2011: Member of Sarah Adriana’s Women’s and Gender Studies honors thesis committee.

Fall 2011-Spring 2011: Member of Kimberly Podhale’s dissertation committee.

Spring 2009-Fall 2009: Chair of Phyllis Ninawa’s Women’s and Gender Studies senior honors
committee.




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Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 1 of 6




                    Exhibit 3
         Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 2 of 6




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                       )
 J.D., on behalf of herself and others similarly       )
 situated, et al.                                      )
                                                       )
                         Plaintiffs,                   )
                                                       )
  v.                                                   )   Civil No. 17-cv-02122-TSC
                                                       )
 ALEX M. AZAR II, et al. ,                             )
                                                       )
        Defendants.                                    )
~~~~~~~~~~~~~~~~)


                    DECLARATION OF REBECCA GARCIA RANGEL

       I, Rebecca Garcia Rangel, M.S.W., pursuant to 28 U.S.C. §1746, declare under penalty of

perjury that the following is true and correct:

        1.     I am currently employed as a Social Worker at Public Counsel's Immigrant

Rights Project. The contents of this Declaration are based upon my own personal knowledge and

information supplied to me by colleagues at Public Counsel, whom I believe to be reliable. The

information is of a type that is generated in the ordinary course of our business, and that I would

customarily rely upon in conducting Public Counsel's work. If called upon to do so, I could and

would testify competently to the matters stated herein.

       2.      Public Counsel's Immigrant Rights Project (IRP) provides representation through

our in-house attorneys, social workers, and advocates, and through hundreds of pro bono

attorneys whom we recruit and train. IRP runs several programs to protect the rights of

immigrants facing deportation, including people fleeing Central America. Since 2014, we have

consistently represented approximately 200 unaccompanied children annually, and we currently

represent approximately 211. Nearly all of these children are from El Salvador, Guatemala, and



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         Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 3 of 6




Honduras, and nearly all fear persecution if returned to their home countries. We also currently

provide pro bono legal representation to families in removal proceedings (the vast majority of

whom are from Central America); conduct know-your-rights trainings and offer individualized

legal assistance to detained individuals; and represent approximately two hundred crime victims

seeking U visas, T visas, relief under the Violence Against Women Act (VAWA), and related

adjustments of status.

        3.         I arrived at IRP in November 2018, with six years of experience working with

clients with no lawful status who have been trafficked, experienced severe abuse, have criminal

or delinquency history, or have been exposed to community violence whether in their home

country, while they were in-transit, and/or once in the United States.

       4.      In my role as a Social Worker, I am tasked with physically and emotionally

accompanying clients through the complex immigration system. I assess clients' physical and

mental health needs and collaborate with them to secure services (medical, mental health,

educational, etc.) to meet those needs, provide immediate intervention when crises arise, and

build trusting relationships that enable clients to establish or regain coping mechanisms so that

they can participate effectively in their legal cases and in their lives. These needs range from

food resources and school enrollment to medical services, including safe and affordable access to

legal abortions.

       5.      As recently as last June, I worked with an indigenous minor from Guatemala who

needed to obtain parental consent in order to access an abortion. In speaking with the minor

about her decision, it became clear to me that being forced to disclose and get consent from her

mother was generating negative emotional reactions and becoming an obstacle to the abortion

that she would otherwise choose. The minor voiced her concern about feeling obligated to have




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           Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 4 of 6




the baby if she could not get consent from her mother. She feared what their close indigenous

Guatemalan community would think about her if they found about the abortion, yet also believed

that, if she carried the pregnancy to term, she would not receive emotional or financial support

and would have to support a baby alone.

          6.    In my own and colleagues' experiences, forced disclosure of pregnancy or the

desire for an abortion produces a tangible fear among minors from Central American countries.

Engrained gender inequities, increased violence against women and girls, and high religiosity has

created a culture of conservatism and taboo around abortion in the region.

          7.    El Salvador, Honduras, and Nicaragua prohibit abortion all together with no legal

exceptions, while Guatemala only permits it to save a woman's life (Guttmacher Institute, 2018).

Many of our clients - including unaccompanied young women and girls - come from countries

were abortion has always been illegal. This national context combined with the dangerous

mechanisms used to intimidate and extort women and girls in transit to the United States, results

inthe arrival at our border of girls who have been raped or sexually assaulted in their home

country or in transit to the United States and who may be afraid to reveal these assaults to their

family.

          8.    Many of these minors find out about their pregnancies after being examined at the

detention center where they await reunification. Forcing minors to disclose their pregnancy and

desire for an abortion to their parents or potential sponsor endangers their release and subsequent

stability.

          9.    Forced disclosure over a phone call can be a traumatic experience, especially if

the cause of said pregnancy is rape or sexual assault. It may require the painful disclosure of rape

or sexual assault before the minors are emotionally ready and without consideration of the




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        Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 5 of 6




possible consequences. Many of these minors have suffered abandonment and neglect by the

parents. In cultural contexts in which abortion is viewed with disapproval, its disclosure can

further fracture family relationships and risk leaving girls with limited or no familial or

community support.

        10.     Many young women choose not to disclose to their parents because of a fear of

being thrown out of their home; in the detention context, because of a fear that they will not be

welcomed into their sponsor's home. It can have the potential consequence of a withdrawal of

sponsorship due to religion, cultural beliefs, or financial expectations.

        11.    The expectation that the parents might support the minor in making a more

informed decision is flawed where many of these parental relationships will begin to form after

the minor is released from government custody and reunified with a parent with whom they

might not have lived for many years, or even since infancy.

        12.    The majority of these minors will be released from detention with no legal status

and being too young to work, exacerbating the risk for social and economic marginalization and

abuse. They will be completely dependent on their caregiver. Where children are forced to

disclose pregnancy or abortion to disapproving parents or sponsors, this dynamic puts minors at

risk of suffering financial blackmail and emotional or physical abuse once they are reunified.

        13.    Forced disclosure can throw a wrench in the reunification process, heighten

trauma associated with disclosing deeply personal information to someone the minor has never

met or has not seen in years, isolate or ostracize the minor in her home or community, and

expose the minor to emotional or physical abuse, and financial blackmail. Forced disclosure will

also strain family relationships in the United States and abroad.

       14.     As in the case presented above, many of the minors considering abortion already




                                                 4
        Case 1:17-cv-02122-TSC Document 144-4 Filed 08/08/19 Page 6 of 6




have a trusted adult to whom they confide their decision - at times this person is an older sibling,

their attorney, or a social worker. Forced disclosure to a parent or potential sponsor irrespective

of the minors' fears potentially exposes minors to unnecessary emotional, psychological, and

physical harms. Minors who trust their parents or an adult figure will seek their advice; however,

the decision of whom to confide in should not be made for them.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Dated: August 05, 2019
                                                hdkm< ~
                                               Rebecca Garcia Rangel, M.S.W.




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        Case 1:17-cv-02122-TSC Document 144-5 Filed 08/08/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                    )
J.D., on behalf of herself and others similarly     )
situated, et al.,                                   )
                                                    )
                        Plaintiffs,                 )
                                                    )   No. 17-cv-02122-TSC
 v.                                                 )
                                                    )
ALEX M. AZAR II, et al.,                            )
                                                    )
                        Defendants.                 )
                                                    )

                                       [PROPOSED] ORDER

        Upon consideration of the moving papers submitted by Plaintiffs in support of their

motion for a preliminary injunction, any opposition, reply, and further pleadings and argument

submitted in support thereof, or in opposition thereto, and the entire record in this case;

        It appearing to the Court that Plaintiffs are likely to succeed on the merits of their action,

that members of the Plaintiff class will suffer the irreparable injury of violation of their Fifth

Amendment rights if Defendants are not immediately enjoined from forcing Plaintiff class

members to disclose their pregnancies and/or abortion decisions against their will, or disclosing

that information themselves, that Defendants will not be harmed if such an order is issued, and

that the public interest favors the entry of such an order, it is, therefore,

        ORDERED that Plaintiffs’ motion for a preliminary injunction is hereby GRANTED; and

the Defendants (along with their respective successors in office, officers, agents, servants,

employees, attorneys and anyone acting in concert with them) are, until further order of the

Court, hereby enjoined from forcing any class member to reveal the fact of her pregnancy and/or

her abortion decisions to anyone, and from revealing those facts and/or decisions to anyone

themselves, either before or after an abortion, unless a class member provides non-coerced
       Case 1:17-cv-02122-TSC Document 144-5 Filed 08/08/19 Page 2 of 2



consent to such disclosure or needs emergency medical care and is incapacitated such that she is

unable to inform a medical care provider herself.


Date: August _____, 2019
                                                    _____________________
                                                    TANYA S. CHUTKAN
                                                    United States District Judge




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